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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE


                                                                   Chapter 11
In re:
                                                                   Case No. 22-11068 (JTD)
FTX Trading Ltd., et al., 1
                                                                   (Jointly Administered)
                    Debtors.


                     GLOBAL NOTES AND STATEMENTS OF LIMITATIONS,
                     METHODOLOGY, AND DISCLAIMERS REGARDING THE
                      DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES
                         AND STATEMENTS OF FINANCIAL AFFAIRS

         FTX Trading Ltd. and its affiliated debtors and debtors-in-possession (collectively, the
 “Debtors”), are filing their respective Schedules of Assets and Liabilities (each, a “Schedule” and,
 collectively with attachments, the “Schedules”) and Statements of Financial Affairs (each, a
 “Statement” and, collectively with attachments, the “Statements”) in the United States Bankruptcy
 Court for the District of Delaware (the “Court”) pursuant to section 521 of title 11 of the United
 States Code (the “Bankruptcy Code”) and rule 1007 of the Federal Rules of Bankruptcy Procedure
 (the “Bankruptcy Rules”).

         Ms. Mary Cilia has signed the Schedules and Statements on behalf of the Debtors. Ms.
 Cilia is the Chief Financial Officer of the Debtors. She has been authorized to execute the
 Schedules and Statements on behalf of the Debtors. In reviewing and signing the Schedules and
 Statements, Ms. Cilia necessarily has relied upon the efforts, statements and representations of the
 Debtors and the Debtors’ financial, legal and other agents and advisors (collectively, the
 “Advisors”). Ms. Cilia has not (and could not have) personally verified the accuracy of each
 statement and representation contained in the Schedules and Statements, including statements and
 representations concerning amounts or quantities owed to creditors, classification of such amounts
 and quantities and creditor addresses and contact information. Additionally, Ms. Cilia has not (and
 could not have) personally verified each amount, quantity or current value listed in each of the
 Schedules and Statements or the classification thereof.

         The Debtors prepared the Schedules and Statements with the assistance of their Advisors.
 The Schedules and Statements are unaudited and subject to potential adjustment, revisions and/or
 amendments, which may be material. In preparing the Schedules and Statements, the Debtors
 relied on financial data derived from their books and records that was available and accessible at

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         The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
         4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
         Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
         of such information may be obtained on the website of the Debtors’ claims and noticing agent at
         https://cases.ra.kroll.com/FTX.
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the time of preparation. As set forth in more detail below, the Debtors cannot confirm that the
information provided is complete and accurate, although the Debtors have made reasonable efforts
to ensure the accuracy and completeness of such financial information. Subsequent information
or discovery of additional information may result in material changes in financial and other data
contained in the Schedules and Statements and inadvertent or unintentional errors, omissions or
inaccuracies may exist. The Schedules and Statements are unaudited and remain subject to further
review and adjustment to reflect the Debtors’ ongoing reconciliation efforts. The amounts
reflected in these Statements and Schedules reflect the Debtors’ efforts to report values and
information as of the Petition Date (unless otherwise stated) through March 8, 2023. The Debtors’
investigations and reconciliations are ongoing and, as such, the results thereof may result in
revision, amendment, supplementation and/or adjustment of the Schedules and Statements.

        For the avoidance of doubt, the Debtors hereby reserve all of their rights, including to
revise, amend, supplement and/or adjust the Schedules and Statements.

        The Debtors and their Advisors do not guarantee or warrant the accuracy or completeness
of the data that is provided and shall not be liable for any loss or injury arising out of or caused in
whole or in part by the acts, errors, or omissions, whether negligent or otherwise, in procuring,
compiling, collecting, interpreting, reporting, communicating, or delivering the information
contained herein and in the Schedules and Statements. While reasonable efforts have been made
to provide accurate and complete information herein, inadvertent errors or omissions may exist
and other limitations described below impacted the Debtors ability to do so in certain instances.
The Debtors and their Advisors expressly do not undertake any obligation to update, modify, revise
or re-categorize the information provided, or to notify any third party should the information be
updated, modified, revised or recategorized except as required by applicable law. In no event shall
the Debtors and their Advisors be liable to any third party for any direct, indirect, incidental,
consequential and/or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against any Debtor or damages to business reputation, lost
business or lost profits), whether foreseeable or not and however caused, even if the Debtors and/or
their Advisors are advised or notified of the possibility of such damages.

        Disclosure in one or more Schedules, one or more Statements, or one or more exhibits or
attachments to the Schedules or Statements, even if incorrectly placed, shall be deemed to be
disclosed in the correct Schedules, Statements, exhibits or attachments.

       These Global Notes and Statements of Limitations, Methodology and Disclaimers
Regarding the Debtors’ Schedules and Statements (collectively, the “Global Notes”) pertain to,
and are incorporated by reference in, and comprise an integral part of, all of the Schedules and
Statements. The Global Notes are in addition to the specific notes set forth below with respect to
the Schedules and Statements (the “Specific Notes” and, together with the Global Notes, the
“Notes”). These Notes should be referred to, and referenced in connection with, any review of the
Schedules and Statements.

       Background and Limitations

       As set forth in the Declaration of John J. Ray III in Support of Chapter 11 Petitions and
First Day Pleadings [D.I. 24] (the “Ray Declaration”), solely for purposes of presentation and
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organizational purposes, the Debtors and their businesses are categorized into four silos:
(a) Debtor West Realm Shires Inc. and its Debtor and non-Debtor subsidiaries (collectively, the
“WRS Silo”), (b) Debtor Alameda Research LLC and its Debtor subsidiaries (collectively, the
“Alameda Silo”), (c) Debtor Clifton Bay Investments LLC and certain of its Debtor affiliates
(collectively, the “Ventures Silo”) and (d) Debtor FTX Trading Ltd. and its Debtor and non-Debtor
subsidiaries (collectively, the “Dotcom Silo”).

        With respect to the Debtors’ books and records, as discussed in the Ray Declaration, the
circumstances surrounding the commencement of the Debtors’ Chapter 11 Cases were
extraordinary and have materially impacted the Debtors’ ability to access and marshal information
about their businesses. Prior to the commencement of the Debtors’ Chapter 11 Cases, the Debtors
operated, with other direct and indirect subsidiaries, on a global, decentralized and stand-alone
basis. There has been no indication that there was formal documentation of policies, procedures,
internal controls or other common management oversight tools utilized by companies of similar
size. There were no indications of the existence of utilized global financial accounting systems,
treasury systems, risk management systems, employment/benefits databases, global contract
databases or corporate secretarial systems commonly and critically maintained and utilized by
similarly large commercial enterprises with a global presence. Records were more commonly
decentralized and maintained on more individualized cloud-based data repositories shared in
smaller groups. Under this operating format, it was normal practice for the books and records to
be maintained by third party bookkeeping providers (the “Outsourcers”) and managed by the
respective local Debtor. Additionally, the financial reporting technology varied and was typically
owned or licensed by the Outsourcers. Supporting financial accounting, treasury and employment
records were not generally kept in a single repository and were often managed in numerous cloud
environments maintained by various individuals rather than on the more traditional server-based
electronic record repositories. The Debtors relied heavily on outsourced contractors to fill several
of its key accounting, finance, and treasury roles who also maintained their own data repositories
separate from the Debtors. This infrastructure has made it extraordinarily difficult and time-
consuming to gather, review, analyze and compile the data required to prepare the Debtors’
Schedules and Statements. These efforts are ongoing. After the commencement of these Chapter
11 Cases, a number of the Outsourcers stopped providing services to the Debtors. The Debtors
reserve all rights to revise, amend, supplement and/or adjust the Schedules and Statements.

        Moreover, a significant number of the Debtors’ employees and contractors resigned on or
around the Petition Date. The Debtors were significantly and adversely affected by the
discontinuation of services from the Outsourcers, the above-referenced proceedings and the
employee and contractor departures because they lost full and direct access to certain personnel, a
portion of their books and records, certain back office systems and document repositories. Since
the commencement of these Chapter 11 Cases, the Debtors’ advisors have been and continue to,
locate and reconstruct the Debtors’ books and records.

        The last close of the Debtors’ books in the normal course of business was performed for
limited entities in the WRS and Dotcom Silos in their respective jurisdictions as of September 30,
2022. In order to prepare the books and records for each of the Debtors as of the Petition Dates
(as defined below), the Debtors’ reengaged certain former employees and selectively re-contracted
certain Outsourcers. The Debtors and their Advisors have attempted to bring forward the
September 30, 2022 financial statements to November 30, 2022 and have used the November 30,
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2022 information prepared by Debtor employees, contractors and Outsourcers to roll back account
balances for each Debtor to the respective Petition Dates, considering known business activity and
transactions occurring from the Petition Dates through November 30, 2022. In doing so, the
Debtors were required to make certain estimates and assumptions, which are also reflected in the
information contained in the Schedules and Statements.

        With respect to the Alameda and Ventures Silos, the books and records were either
improperly maintained or not prepared by the Debtors prior to the Petition Date. Additionally, the
individuals previously responsible for the Debtors’ books and records of these two Silos are
currently unavailable to provide information either due to local proceedings, unwillingness to
engage with the Debtors’ current management or are under criminal guilty pleas or indictment
(e.g., Samuel Bankman-Fried, Caroline Ellison and Gary Wang). Therefore, the Debtors’ and their
Advisors developed processes and procedures to construct the information presented in the
Schedules and Statements as of the Petition Date based on currently available and accessible
information. The Debtors reserve the right to revise, amend, supplement and/or adjust the
Schedules and Statements.

        With respect to certain entities within the Dotcom Silo, the individuals previously
responsible for the Debtors’ books and records are currently unavailable to provide information
either due to local proceedings or unwillingness to engage with the Debtors’ current management.
Additionally, substantiating documentation for certain book balances and transactions was often
limited or unavailable. Therefore, the Debtors’ and their Advisors developed processes and
procedures to construct certain information presented in the Schedules and Statements as of the
Petition Date based on currently available and accessible information. The Debtors reserve the
right to revise, amend, supplement and/or adjust the Schedules and Statements.

       Additionally, on or around the time of the commencement of these Chapter 11 Cases, many
of the non-Debtor entities around the world became subject to various proceedings, in which
administrators or trustees were appointed by the applicable authorities to oversee, manage and
administer the affairs of those affiliates going forward. A summary of those proceedings is below.

FTX DM Joint Provisional Liquidation and Chapter 15 Recognition

       On November 10, 2022, the Securities Commission of The Bahamas filed a petition for
provisional liquidation of FTX Digital Markets Ltd. (“FTX DM”) with the Supreme Court of The
Bahamas (the “Bahamas Court”). On the same day, the Bahamas Court granted such petition and
appointed Brian C. Simms KC as provisional liquidator of FTX DM. On November 14, 2022, the
Bahamas Court appointed Kevin G. Cambridge and Peter Greaves of PricewaterhouseCoopers as
additional JPLs, to serve alongside Mr. Simms (collectively, the “JPLs”).

        On November 15, 2022, the JPLs filed a Chapter 15 petition for recognition of FTX DM’s
provisional liquidation proceeding as a foreign main proceeding in the United States under Chapter
15 of the U.S. Bankruptcy Code. On February 15, 2023, the Court entered an order granting the
JPL’s recognition petition. In re FTX Digital Markets Ltd., Case No. 22-11217 (JTD) (Bankr. D.
Del.) [D.I. 129].
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Bahamas Recognition Proceeding

        On February 8, 2023, Mr. Kurt Knipp filed a petition with the Bahamas Court seeking entry
of an order recognizing him as the foreign representative of the following Debtors in The Bahamas
with the right to act in The Bahamas on behalf of or in the name of each of such Debtors: (a) West
Realm Shires Inc., (b) West Realm Shires Services Inc., (c) Alameda Research LLC, (d) Alameda
Research Ltd., (e) Maclaurin Investments Ltd., (f) Clifton Bay Investments LLC and (g) FTX
Trading Ltd. On February 23, 2023, the Bahamas Court entered a Declaratory Order granting the
requested relief.

Australian Voluntary Administration Proceedings

       On November 11, 2022, Scott Langdon, Rahul Goyal and John Mouawad of KordaMentha
were appointed by the Board of Directors as joint and several voluntary administrators to FTX
Australia Pty Ltd and FTX Express Pty Ltd. The first meeting of creditors for these entities was
held on December 1, 2022. These proceedings are ongoing.

       Finally, substantial assets of the Debtors were transferred to Related Parties and insiders
which are included in these Schedules & Statements as receivable or transfers in their respective
sections. The Debtors have located documentation related to some of these transfers but many
appear to have been undocumented. The Debtors are undertaking a process to locate and recover
these assets. The Debtors reserve the right to revise, amend, supplement and/or adjust the
Schedules and Statements
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                             Global Notes and Overview of Methodology

        The Schedules, Statements and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events or performance of any
of the Debtors, including, but not limited to, any potential recoveries or distributions related
to claims against the Debtors.

        1.       Description of the Cases. On November 11, 2022 and November 14, 2022 (as
                 applicable, the “Petition Date”), 2 the Debtors filed with the Court voluntary
                 petitions for relief under chapter 11 of the United States Bankruptcy Code. The
                 cases (the “Chapter 11 Cases”) are pending before the Honorable John T. Dorsey,
                 and are jointly administered for procedural purposes only under the lead case
                 captioned In re FTX Trading Ltd., et al., Case No. 22-11068 (JTD) (Bankr. D. Del.).
                 On February 13, 2023, the Court entered an order dismissing the chapter 11 cases
                 of FTX Turkey Teknoloji Ticaret Anonim Sirketi and SNG Investments Yatirim ve
                 Danismanlik Anonim Sirketi [D.I. 711].

        2.       Basis of Presentation. For financial reporting purposes, most of the Debtors
                 prepared financial statements on a legal entity basis. While consistent with their
                 historical practice for most Debtor entities, several of the entities within the
                 Alameda Silo maintained only one set of combined books. The Schedules and
                 Statements are unaudited and reflect the Debtors’ reasonable efforts to report
                 certain financial information of each Debtor on a stand-alone basis. These
                 Schedules and Statements do not purport to and do not represent financial
                 statements prepared in accordance with Generally Accepted Accounting Principles
                 in the United States (“GAAP”). The Debtors used what they believe to be a
                 reasonable basis to attribute assets and liabilities to each Debtor entity. However,
                 because the Debtors’ accounting systems, policies, and practices were limited and
                 maintained inconsistently by legal entity, or not at all, it is possible that not all
                 assets, liabilities, or operational activity have been recorded, or were not recorded
                 with the correct legal entity on the Schedules and Statements. Accordingly, the
                 Debtors reserve all rights to revise, amend, supplement and/or adjust the Schedules
                 and Statements, including with respect to reallocation of assets or liabilities to any
                 Debtor entity.

        3.       Reporting Date. Unless otherwise noted on the specific responses, the Statements
                 and the liabilities reflected on the Schedules generally reflect the Debtors’ books
                 and records as of the Petition Date except as may have been adjusted for authorized
                 payments made under the First Day Orders (as defined below). The cash and other
                 assets listed on the Schedules are as of the Petition Date unless otherwise stated,
                 and have not been adjusted for authorized payments made under the First Day
                 Orders. As set forth herein, amounts ultimately realized may vary from whatever
                 value was ascribed and such variance may be material. Accordingly, the Debtors
                 reserve all of their rights to revise, amend, supplement and/or adjust the values set

2
    November 11, 2022 is the petition date for all Debtors, except for West Realm Shires Inc.
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     forth in the Statements and the assets and liabilities reflected on the Schedules. In
     addition, the amounts shown for total liabilities exclude items identified as
     “unknown,” “disputed,” “contingent,” “unliquidated,” “undetermined” and “N/A”
     and, thus, ultimate liabilities may differ materially from those stated in the
     Schedules and Statements.

4.   Allocation of Liabilities.    The Debtors, in consultation with their Advisors,
     have sought to allocate liabilities between prepetition and postpetition periods
     based on the information and research that was conducted in connection with the
     preparation of the Schedules and Statements. As additional information becomes
     available and further research is conducted, the allocation of liabilities between
     prepetition and postpetition may change. The Debtors reserve the rights to revise,
     amend, supplement and/or adjust the Schedules and Statements.

5.   Duplication. Certain of the Debtors’ assets, liabilities and prepetition payments
     may properly be disclosed in response to multiple parts of the Schedules and
     Statements. Except as otherwise discussed below, to the extent these disclosures
     would be duplicative, the Debtors have made best efforts to only list such assets,
     liabilities and prepetition payments once.

6.   Entity Accounts Payable and Disbursement Systems. As described in the
     Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
     Debtors to (A) Operate a Post-petition Cash Management System, (B) Maintain
     Existing Business Forms, and (C) Perform Intercompany Transactions,
     (II) Granting a Partial Waiver of the Deposit Guidelines Set Forth in Section
     345(B), and (III) Granting Certain Related Relief, [D.I. 47], prior to the
     commencement of the Chapter 11 Cases, the Debtors utilize a decentralized cash
     management system. Prior to the commencement of these Chapter 11 Cases, each
     Debtor generally maintained individual bank and payment service accounts to
     collect, transfer and distribute funds in the ordinary course of business. The
     Debtors maintained approximately 400 known bank and payment service accounts.
     The Debtors have been taking the necessary efforts to obtain access to, and regain
     control of, each of these known bank and payment service accounts and these
     efforts remain ongoing. Payment service account providers do not always provide
     information reporting consistent with reporting expected from a traditional
     financial institution, which creates limitations and challenges in preparation of the
     Schedules and Statements. There is a significant volume of transactions and
     currency that occurred within the Debtors’ accounts on a daily basis with both third
     parties and between accounts held by affiliates. While the Debtors have taken
     reasonable measures to obtain the information necessary to compile the Schedules
     and Statements, there is a risk that this information is inaccurate or incomplete.
     Additionally, although efforts have been made to attribute open payable amounts
     to the correct Debtor entity, the Debtors reserve the right to revise, amend,
     supplement and/or adjust their Schedules and Statements, including to attribute
     such payment to a different Debtor entity.
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7.   Accuracy. As discussed in the Ray Declaration, the deficiencies with the Debtors’
     record keeping and reporting have been well documented. The financial
     information disclosed in the Schedules and Statements was not prepared in
     accordance with federal or state securities laws or other applicable non-bankruptcy
     law or in lieu of complying with any periodic reporting requirements thereunder.
     Persons and entities trading in or otherwise purchasing, selling, or transferring any
     claims against or equity interests in the Debtors should evaluate this financial
     information in light of the purposes for which it was prepared and should not rely
     upon such information for such or any other purposes. The Debtors are not liable
     for and undertake no responsibility to indicate variations from securities laws or for
     any evaluations of the Debtors based on this financial information or any other
     information.

8.   Valuation Generally. In certain instances, current market valuations are not
     maintained by or readily available to the Debtors. Moreover, it would be
     prohibitively expensive, unduly burdensome, and an inefficient use of estate assets
     for the Debtors to obtain current market valuations of all of their assets solely for
     purposes of the Schedules and Statements. Accordingly, unless otherwise stated,
     net book values as of the Petition Date are presented. When necessary, the Debtors
     have indicated that the value of certain assets is “unknown” or “undetermined.”
     Amounts ultimately realized may vary materially from net book value (or spot
     value or other value so ascribed). Accordingly, the Debtors reserve all rights to
     revise, amend, supplement and/or adjust the asset values set forth in the Schedules
     and Statements. The omission of an asset from the Schedules and Statements does
     not constitute a representation regarding the ownership of such asset, and any such
     omission does not constitute a waiver of any rights of the Debtors with respect to
     such asset.

     As noted herein, the Debtors are currently marketing certain assets for sale pursuant
     to those certain Court-approved bidding procedures. See Order (A) Approving Bid
     Procedures, Stalking Horse Procedures and the Form and Manner of Notices for
     the Sale of Certain Businesses, (B) Approving Assumption and Assignment
     Procedures and (C) Scheduling Auction(s) and Sale Hearing(s) [D.I.487] and
     Order (I) Authorizing and Approving Procedures for the Sale or Transfer of
     Certain De Minimis Assets and Fund Assets and (II) Approving Assumption,
     Assignment and Rejection Procedures and (III) Granting Related Relief [D.I. 702].
     Accordingly, the current or fair value of those assets may be determined in
     connection with the sales processes. As noted herein, amounts ultimately realized
     from the sale process may vary materially from net book value.

9.   Valuation of Cryptocurrency. Cryptocurrency amounts are generally listed per
     token rather than a conversion to price in U.S. dollars. To the extent cryptocurrency
     values are presented in U.S. dollars, they reflect the valuation as set forth in the
     Debtors’ books and records as of the Petition Date or the time of the relevant
     transaction, as applicable, or such other pricing as set forth in these Notes. Actual
     net realizable value may vary significantly. The Debtors reserve all rights to revise,
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      amend, supplement and/or adjust such values presented in the Schedules and
      Statements.

10.   Paid Claims. Pursuant to the “first day” and “second day” orders of the Court
      entered in the Chapter 11 Cases (collectively, the “First Day Orders”) as well as
      other orders of the Court, the Debtors have authorization to pay certain outstanding
      prepetition claims. As such, outstanding liabilities have been reduced by any court-
      approved postpetition payments made on prepetition payables. Where and to the
      extent these liabilities have been satisfied, they are not listed in the Schedules and
      Statements, unless otherwise indicated. Regardless of whether such claims are
      listed in the Schedules and Statements, to the extent the Debtors later pay any
      amount of the claims listed in the Schedules and Statements pursuant to any orders
      entered by the Court, the Debtors reserve all rights to revise, amend, supplement
      and/or adjust the Schedules and Statements or take other action, such as filing
      claims objections, as is necessary and appropriate to avoid overpayment or
      duplicate payments for liabilities. Nothing herein should be deemed to alter the
      rights of any party-in-interest to contest a payment made pursuant to an order of the
      Court where such order preserves the right to contest such payment.

11.   Undetermined Amounts. Claim amounts that could not readily be quantified by
      the Debtors are scheduled as “unliquidated”, “undetermined”, “unknown” or
      “N/A.” The description of an amount as “unliquidated”, “undetermined”,
      “unknown” or “N/A” is not intended to reflect upon the materiality or allowance
      of, or distribution with respect to the amount.

12.   Guarantees and Other Secondary Liability Claims. The Debtors exercised their
      reasonable efforts to locate and identify guarantees and other secondary liability
      claims (collectively, the “Guarantees”) in their executory contracts, unexpired
      leases and other such agreements. Where such Guarantees have been identified,
      they are included in the relevant Schedules and Statements. Guarantees embedded
      in the Debtors’ executory contracts, unexpired leases and other agreements may
      have been omitted inadvertently. The Debtors reserve their right to revise, amend,
      supplement and/or adjust the Schedules and Statements to the extent that additional
      Guarantees are identified. In addition, the Debtors reserve the right to amend the
      Schedules and Statements to re-characterize and reclassify any such contract or
      claim.

13.   Excluded Liabilities and Assets. The Debtors believe that they have identified,
      but did not necessarily value, all material categories of assets and liabilities in the
      Schedules. As set forth in note 16 below, the Debtors have excluded intercompany
      assets and liabilities from the Schedules and Statements. Additionally, certain
      immaterial or de minimis liabilities and assets may have been excluded. Finally,
      the Debtors have also excluded from the Schedules and Statements cryptocurrency
      that was not in the Debtors’ possession or controlled by the Debtors as of the
      Petition Date and any unauthorized transfers, gains or losses or other adjustments
      of cryptocurrencies that occurred either before or after the Petition Date. The
      Debtors reserve all rights with respect to such cryptocurrency.
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14.    Cryptocurrency. Certain of the Debtors’ assets are cryptocurrencies or digital
       tokens based on a publicly accessible blockchain. Cryptocurrencies are unique
       assets. Certain laws and regulations that may be applicable to cryptocurrencies do
       not contemplate or address unique issues associated with the cryptocurrency
       economy, are subject to significant uncertainty, and vary widely across U.S.
       federal, state, and local and international jurisdictions. The Debtors make no
       representations or admissions concerning the status of cryptocurrency as a
       “security” under any state, federal, or local domestic or international statute,
       including United States federal securities laws, and reserve all rights with respect
       to such issues and all rights to revise, amend, supplement and/or adjust the
       Schedules and Statements.

15.    Customers. In order to preserve the confidentiality of customer identities and in
       compliance with the Final Order (I) Authorizing the Debtors to Maintain a
       Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for Each
       Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain Confidential
       Information of Customers and Personal Information of Individuals and
       (III) Granting Certain Related Relief [D.I. 545] (the “Redaction Order”), customers
       have been scheduled utilizing an unique, individualized customer identification
       number (each, a “Customer Code”) assigned to each applicable customer by the
       Debtors. The Customer Code is not the same as the customer account number of
       such customer that existed prior to the filing of these Chapter 11 Cases. The
       Debtors will provide notice of a customer’s Customer Code by email to the email
       on file for such customer.

16.    Insiders. For purposes of the Schedules and Statements, the Debtors defined
       “insiders” pursuant to section 101(31) of the Bankruptcy Code as: (a) directors;
       (b) officers; (c) persons in control of the Debtors; (d) relatives of the Debtors’
       directors, officers or persons in control of the Debtors and (e) debtor/non-debtor
       affiliates of the foregoing. Additionally, an entity may be designated as an “insider”
       for the purposes of the Schedules and Statements if such entity, based on the totality
       of the circumstances, has a close relationship with any of the Debtors and a lack of
       arm’s length dealings. Certain of the individuals or entities may not have been
       insiders for the entirety of the 12-month period before the Petition Date, but the
       Debtors have included them herein out of an abundance of caution. Entities or
       persons listed as “insiders” have been included for informational purposes only,
       and the inclusion or omission of them in the Schedules and Statements shall not
       constitute an admission that those persons are or are not “insiders” for purposes of
       section 101(31) of the Bankruptcy Code. The rights of the Debtors and other third
       parties with respect to any determinations of “insiders” are reserved.

       Information regarding the individuals or entities listed as insiders in the Schedules
       and Statements may not be used for: (a) the purposes of determining (i) control of
       the Debtors; (ii) the extent to which any individual or entity exercised management
       responsibilities or functions; (iii) corporate decision-making authority over the
       Debtors; or (iv) whether such individual or entity could successfully argue that it is
       not an insider under applicable law, including the Bankruptcy Code and federal
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       securities laws, or with respect to any theories of liability or (b) any other purpose.
       Furthermore, the listing or omission of a party as an insider for purposes of the
       Schedules and Statements is not intended to be, nor should it be, construed an
       admission of any fact, right, claim, or defense, and all such rights, claims, and
       defenses are hereby expressly reserved.

       The process to identify insiders and related payments remain ongoing, and the
       Debtors reserve all rights to revise, amend, supplement and/or adjust the Schedules
       and Statements.

17.    Intercompany Balances. The Schedules do not include a reporting of
       intercompany or certain affiliate balances. The process to reconcile and validate
       all intercompany balances among the Debtors or between Debtors and certain of its
       affiliates is ongoing and is incomplete and, as such, the Debtors are not in a position
       currently to report such balances. The volume and magnitude of intercompany and
       affiliate transactions in both digital and fiat assets are significant and pervasive
       throughout the Debtors’ and their affiliates’ accounts. Identification of these
       transactions is complex for numerous reasons including agent relationships or
       improper labeling of transactions or accounts, and the efforts to initially identify
       and verify those transactions are ongoing. The Debtors expect that the
       intercompany and affiliate balances will materially impact and change the reported
       assets and liabilities of many of the Debtors and the related recoveries of claims
       against such Debtors. The Debtors reserve all rights, claims and defenses in
       connection with any and all intercompany and affiliate receivables and payables,
       including with respect to the characterization of intercompany and affiliate claims,
       loans and notes.

18.    Totals. All totals that are included in the Schedules and Statements represent totals
       of all the known amounts. Amounts marked as “unknown”, “undetermined” or
       “N/A” are not included in the calculations of the totals. To the extent there are
       unknown disputed, contingent, unliquidated or otherwise undetermined amounts,
       the actual total may differ materially from those stated in the Schedules and
       Statements.

19.    Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
       unless otherwise indicated. Foreign currency amounts have been translated to U.S.
       Dollar equivalents using published exchange rates at the relevant date or for the
       relevant period.

20.    Setoffs. The Debtors may incur certain setoffs and other similar rights during the
       ordinary course of business. Offsets in the ordinary course can result from various
       items, including, without limitation, margin call or other lending-related
       transaction, intercompany transactions, pricing discrepancies, returns and other
       disputes between the Debtors and their account holders and/or suppliers. These
       offsets and other similar rights are consistent with the ordinary course of business
       in the Debtors’ industry and may not be tracked separately. Therefore, although
       such offsets and other similar rights may be included in the Schedules, other offsets
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       are not independently accounted for, and as such, may be excluded from the
       Schedules. The Debtors reserve all rights with respect to setoffs and offsets.

21.    Causes of Action. Despite their reasonable efforts to identify all known assets, the
       Debtors may not have listed all of their claims, causes of action, potential claims or
       potential causes of action against third parties as assets in their Schedules and
       Statements, including, but not limited to, preferences and avoidance actions arising
       under chapter 5 of the Bankruptcy Code and actions under other relevant non-
       bankruptcy laws to recover assets, controversy, right of setoff, cross claim,
       counterclaim, or recoupment and any claim on contracts or for breaches of duties
       imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
       obligation, liability, damage, judgment, account, defense, power, privilege, license,
       and franchise of any kind or character whatsoever, known, unknown, fixed or
       contingent, matured or unmatured, suspected or unsuspected, liquidated or
       unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
       derivatively, whether arising before, on, or after the Petition Date, in contract or in
       tort, in law or in equity, or pursuant to any other theory of law. The Debtors’
       investigation efforts remain ongoing. The Debtors reserve all of their rights with
       respect to any claims, causes of action, preference or avoidance actions they may
       have, and neither these Notes nor the Schedules and Statements shall be deemed a
       waiver of any such claims, causes of actions, preference or avoidance actions or in
       any way prejudice or impair the assertion of such claims, or in any way act as an
       admission of any fact or liability or the character thereof. Additionally, prior to the
       Petition Date, each Debtor, as plaintiff, may have commenced various lawsuits in
       the ordinary course of its business against third parties seeking monetary damages.

22.    Credits and Adjustments. The claims of individual creditors for, among other
       things, goods, products, services or taxes are listed as the amounts entered on the
       Debtors’ books and records and may not reflect credits, allowances or other
       adjustments due from such creditors to the Debtors. The Debtors reserve all of their
       rights with regard to such credits, allowances and other adjustments, including the
       right to assert claims objections and/or setoffs with respect to the same, or apply
       such allowances in the ordinary course of business on a postpetition basis.

23.    Solvency. Given the exclusion of intercompany balances and the uncertainty
       surrounding the collection, valuation and ownership of certain assets, including,
       among other things, net operating losses or other tax attributes, and the valuation
       and nature of certain liabilities, to the extent that a Debtor shows more assets than
       liabilities, nothing in the Schedules or Statement shall constitute an admission that
       the Debtors were solvent as of the Petition Date or at any time before the Petition
       Date. Likewise, to the extent a Debtor shows more liabilities than assets, nothing
       in the Schedules or Statement shall constitute an admission that such Debtor was
       insolvent as of the Petition Date or at any time before the Petition Date. For the
       avoidance of doubt, nothing contained in the Schedules and Statements is indicative
       of the Debtors’ enterprise value or solvency. The Debtors reserve all rights with
       respect to these issues.
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24.    Liens. Property and equipment listed in the Schedules and Statements are
       presented without consideration of any liens that may attach (or have attached) to
       such property and equipment.

25.    Leases of Equipment and Other Assets. In the ordinary course of their business,
       the Debtors lease equipment and other assets from certain third-party lessors for
       use in the daily operation of their businesses. The Debtors have made commercially
       reasonable efforts to list any such leases in Schedule G. Except as otherwise noted
       herein, the property subject to any such leases is not reflected in Schedule A/B as
       either owned property or assets of the Debtors, and neither is such property or assets
       of third parties within the control of the Debtors. Nothing in the Schedules is or
       shall be construed as an admission or determination as to the legal status of any
       lease (including whether any lease is a true lease or a financing arrangement), and
       the Debtors reserve all rights with respect to any of such issues, including the
       recharacterization thereof.

26.    Confidential, Sensitive or Personally Identifiable Information. There may be
       instances in which certain information in the Schedules and Statements
       intentionally has been redacted due to, among other things, the nature of an
       agreement between a Debtor and a third party, local restrictions on disclosure,
       concerns about the confidential or commercially sensitive nature of certain
       information, or concerns for the privacy of an individual. Additionally, pursuant to
       the Redaction Order, the Debtors have redacted certain customer and personally
       identifiable information contained in the Schedules and Statements. Payments
       made to individuals and certain other instances where personally identifiable
       information could otherwise be disclosed have been reported without disclosing
       personally identifiable information. All such redacted information shall be made
       available in accordance with the terms of the Redaction Order.

27.    Reservation of Rights. As noted above, reasonable efforts have been made to
       prepare and file complete and accurate Schedules and Statements, however,
       inadvertent errors or omissions may exist. The Debtors reserve all rights to revise,
       amend, supplement and/or adjust the Schedules and Statements from time to time
       in all respects. The Debtors reserve all rights with respect to issues involving or
       defenses against claims, substantive consolidation, defenses, statutory or equitable
       subordination, and/or causes of action arising under the Bankruptcy Code and any
       other relevant non-bankruptcy laws to recover assets or avoid transfers. Any
       specific reservation of rights contained elsewhere in the Notes does not limit in any
       respect the general reservation of rights contained in this paragraph.

       Nothing contained in the Schedules, Statements or Notes shall constitute a waiver
       of rights with respect to these Chapter 11 Cases, including, but not limited to, the
       following:

       a)     Any failure to designate a claim listed on the Debtors’ Schedules and
              Statements as a) “disputed,” b) “contingent,” or c) “unliquidated” does not
              constitute an admission by the Debtors that such amount is not “disputed,”
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       “contingent,” or “unliquidated” or a waiver of any right to later object to
       any claim on any grounds. The Debtors reserve the right to dispute and to
       assert setoff rights, offsets, counterclaims, and defenses to any claim
       reflected on the Schedules as to amount, liability, and classification, and to
       otherwise subsequently designate any claim as “disputed,” “contingent,” or
       “unliquidated.” Moreover, listing a claim does not constitute an admission
       of liability by the Debtors against which the claim is listed or by any of the
       Debtors. The Debtors reserve all rights to object to the extent, validity,
       enforceability, priority or avoidability of any claim (regardless of whether
       such claim is designated in the Schedules and Statements as “disputed,”
       “contingent,” or “unliquidated”). The Debtors reserve all rights to seek
       disallowance of any claim, including pursuant to section 502(d) of the
       Bankruptcy Code where an entity from which property is recoverable under
       section 542, 543, 550 or 553 of the Bankruptcy Code unless such entity has
       paid the amount or turned over such property to the Debtors. The Debtors
       reserve all rights to revise, amend, supplement and/or adjust their Schedules
       and Statements, including with respect to claim amounts, description,
       classification and designation.

 b)    Nothing contained in the Schedules and Statements is intended or should be
       construed as an admission or stipulation of the validity or allowance of any
       claim against the Debtors, any assertion made therein or herein, or a waiver
       of the right to dispute the allowance of, or any distributions in connection
       with, any claim or assert any cause of action or defense against any party.

 c)    Notwithstanding that the Debtors have made reasonable efforts to correctly
       characterize, classify, categorize or designate certain claims, assets,
       executory contracts, unexpired leases and other items reported in the
       Schedules and Statements, the Debtors nonetheless may have improperly
       characterized, classified, categorized or designated certain items. The
       Debtors reserve all rights to recharacterize, reclassify, recategorize or
       redesignate items reported in the Schedules and Statements.

 d)    Information requested by the Schedules and Statements requires the
       Debtors to make a judgment regarding the appropriate category in which
       information should be presented or how certain parties, claims or other data
       should be labeled. The Debtors’ decisions regarding the category or label
       to use is based on the best information available as of the preparation of
       these Schedules and Statements. The Debtors reserve all rights to revise,
       amend, supplement and/or adjust the Schedules and Statements, including
       to the extent some information currently presented should be moved to a
       different category or labeled in a different way.

 e)    The listing of a claim (i) on Schedule D as “secured,” (ii) on Schedule E/F
       (Part 1) as “priority,” (iii) on Schedule E/F (Part 2) as “unsecured” or
       (iv) listing a contract or lease on Schedule G as “executory” or “unexpired”
       does not constitute an admission by the Debtors of the legal rights of the
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              claimant or counterparty, or a waiver of the Debtors’ rights to object to such
              claim or recharacterize or reclassify such claim, contract or lease, or a
              waiver of the Debtors’ rights to setoff such claims. The Debtors reserve all
              rights to revise, amend, supplement and/or adjust the Schedules and
              Statements in this regard and reserve all rights to assert that any contract
              listed on the Debtors’ Schedules and Statements does not constitute an
              executory contract within the meaning of section 365 of the Bankruptcy
              Code, and the right to assert that any lease so listed does not constitute an
              unexpired lease within the meaning of section 365 of the Bankruptcy Code.

       f)     The Debtors reserve all of their rights, claims and causes of action with
              respect to the contracts and agreements listed on the Schedules and
              Statements, including, but not limited to, the right to dispute and challenge
              the characterization or the structure of any transaction, document and
              instrument related to a creditor’s claim.

       g)     Exclusion of certain intellectual property should not be construed to be an
              admission that such intellectual property rights have been abandoned, have
              been terminated or otherwise expired by their terms, or have been assigned
              or otherwise transferred pursuant to a sale, acquisition, or other transaction.
              Conversely, inclusion of certain intellectual property should not be
              construed to be an admission that such intellectual property rights have not
              been abandoned, have not been terminated or otherwise expired by their
              terms, or have not been assigned or otherwise transferred pursuant to a sale,
              acquisition, or other transaction.

28.    Global Notes Control. In the event that the Schedules or Statements differ from
       any of the foregoing Global Notes, the Global Notes shall control.

            Specific Notes with Respect to the Debtors’ Schedules

29.    Schedule A/B, Part 1 – Cash and Cash Equivalents. The reported bank balances
       (including investments and overnight accounts) and cash on hand include cash held
       in various currencies, converted into U.S. dollars as of the Petition Date. The
       Debtors have attempted to independently verify the cash balances as of the Petition
       Date. Where the Debtors and their Advisors have not been able to access an
       account, book balances are reported. Additionally, the Debtors continue to
       investigate, identify and recover additional cash assets as new information becomes
       available.

30.    Schedule A/B, Part 2 – Deposits and Prepayments. Deposits and prepayments
       includes certain prepayments related to various advertising and sponsorship
       agreements, security deposits, retainers and other miscellaneous deposits and
       prepayments, which have been presented in AB7 at the net unamortized value as of
       the Petition Date. The Debtors have made reasonable efforts to identify all deposits
       and prepayments, but the lack of detailed historical amortization information has
       resulted in a presentation of the net unamortized value as a lump sum amount rather
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       than by individual asset. Efforts continue to segregate the books and records
       balances by individual asset. Additionally, the Schedules may not reflect an
       exhaustive list of all deposits and prepayments. The amounts listed in response to
       AB7 include deposits by Debtors that may have been offset and withdrawn
       postpetition by the counterparty. In addition, certain retainers or deposits reflect
       payments to professionals made by a certain Debtor entity that may be subject to
       applicable allocation amongst the Debtors. Finally, the amount ultimately
       recovered on such deposits and prepayments may vary materially from the amounts
       reported herein. The Debtors reserve their rights, but are not required, to amend
       the Schedules and Statements.

31.    Schedule A/B Part 3 Question 11. The Debtors are in the process of evaluating
       their receivables including the collectability of such receivables. All receivables
       are reported in response to Question 11b (over 90 days old) notwithstanding that
       certain of such receivables may have been less than 90 days old at the Petition Date.
       Receivables have been reported at net book value which includes allowance for
       doubtful accounts. The Debtors did not perform a full assessment of the
       collectability of receivables in conjunction with the preparation of the Schedules.
       Therefore, the amount ultimately recovered may vary materially from the amount
       reported herein.

32.    Schedule A/B Part 4 - Investments. Investments in consolidated subsidiaries have
       been listed with an undetermined value. The Debtors do not believe that any book
       value is indicative of the value of such assets and have not obtained a fair market
       valuation of the assets. Other investments have been reported at the funded amount
       or recorded cost per books and records, which may be materially different from the
       current fair market value of the investment.

33.    Schedule A/B Part 7 – Office furniture, fixtures and equipment; and
       collectibles. Office furniture, fixtures and equipment have been reported at the net
       book value, which may materially differ from the current fair market of the related
       assets.

34.    Schedule A/B, Part 9 – Real Property. Real property consists primarily of
       properties purchased in the Bahamas and leasehold improvements on various leased
       facilities, including on any leases that may have been rejected or mutually
       terminated after the Petition Date. Properties owned in the Bahamas and leasehold
       improvements have been reported in the Schedules at the Net Book Value, which
       may materially differ from the current market value of the properties.

35.    Schedule A/B, Part 10 – Intangibles and Intellectual Property. The value of
       intangibles and intellectual property has been listed as undetermined, with a
       notational comment that includes the existing book value of such intangibles and
       intellectual property. The Debtors do not believe that the book value of the
       intangibles and intellectual property is indicative of the current fair market value of
       such assets and have included the book value amounts solely for informational
       purposes as no valuation for impairment has been performed at this time.
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       The Debtors may have excluded certain intellectual property. Exclusion of certain
       intellectual property shall not be construed to be an admission that such intellectual
       property rights have been abandoned, have been terminated, or otherwise have
       expired by their terms, or have been assigned or otherwise transferred pursuant to
       a sale, acquisition, or other transaction. Conversely, inclusion of certain intellectual
       property shall not be construed to be an admission that such intellectual property
       rights have not been abandoned, have not been terminated, or otherwise have not
       expired by their terms, or have not been assigned or otherwise transferred pursuant
       to a sale, acquisition, or other transaction.

36.    Schedule A/B, Part 11, Question 71 – Notes Receivable. Notes Receivable
       include transfers of fiat cash to both insiders and external third parties. The Debtors
       and their Advisors have reviewed loan contracts and recorded loan amounts at the
       contractually stated amount, adjusted for accrued interest and payments. Where
       undocumented transfers of cash to insiders were identified these were classified as
       notes receivable with no accrued interest. The collectible amount of Notes
       Receivable is currently undetermined. Notes Receivable does not include any
       transfers of cryptocurrencies or digital assets.

37.    Schedule A/B, Part 11, Question 72 – Tax Refunds and Unused Net Operating
       Losses (NOLs). Refunds represent dollar-for-dollar claims made with taxing
       authorities to return previous overpayments of tax. Unused NOLs may be available
       to offset Debtor taxable income for the period ended December 31, 2022 and
       forward. Unused NOLs are presented on an individual Debtor basis for U.S.
       Federal income tax purposes. Due to the complexities of certain U.S. state and
       local net operating loss rules for combined/unitary groups, these amounts are
       disclosed at the filing entity level. These disclosures were compiled based on
       information made available to the Debtors and their advisors at the time of this
       filing. The Debtors and their Advisors continue to review the underlying filing
       positions to confirm accuracy, and reserve the right to revise, amend, supplement
       and/or adjust the Schedules and Statements.

38.    Schedule A/B, Part 11, Question 73 – Insurance Policies. The insurance policies
       listed in response to question 73 are listed only for the Debtor entities that are
       identified as named insureds on the respective policies and are not listed in response
       to question 73 for any other Debtor entities that may fall within the respective
       definitions of insured entities under such policies.

39.    Schedule A/B, Part 11, Question 77 – Crypto Holdings & Collateral Assets.
       Crypto assets are listed herein by their trading symbol and include the quantity held
       as of the Petition Date. Where USD Spot Price Value is listed, the amounts were
       derived by multiplying the quantity of tokens held with the spot price as of the
       Petition Date based on preliminary information publicly available from
       CoinMarketCap (www.coinmarketcap.com). If spot pricing was unavailable as of
       the Petition Date at CoinMarketCap, the Debtors have reported the asset as Value
       Unknown. The current value of the crypto assets is undetermined and could vary
       significantly from any valuation as of the Petition Date. Additionally, all Crypto
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       Holdings are presumed to be held by an individual Debtor within each Silo. The
       Debtors reserve all rights to revise, amend, supplement and/or adjust any reported
       pricing in the Schedules and Statements.

40.    Schedule A/B, Part 11, Question 77 – Tokens Receivables. The Debtors are
       contractual counterparties to agreements in which certain tokens are delivered as
       part of a vesting schedule. For the purposes of listing the quantities of tokens
       receivable as of the Petition Date, the Debtors assumed that all tokens due prior to
       the Petition Date were delivered, but efforts to verify those assumptions are ongoing
       and could materially impact the amounts reported herein. The Debtors have listed
       the counterparty, related token and quantity of tokens that were scheduled to be
       received after the Petition Date. Where spot prices were readily available as of the
       Petition Date from CoinMarketCap, an USD Spot Price Receivable Amount was
       calculated and provided herein by multiplying the quantity of tokens due as of the
       Petition Date with the spot price as of the Petition Date based on preliminary
       information publicly available from CoinMarketCap (www.coinmarketcap.com).
       If spot pricing was unavailable as of the Petition Date at CoinMarketCap, the
       Debtors have reported the Funded Amount for the tokens. Contracts that include
       token warrants do not have a quantifiable amount of tokens due as of the Petition
       Date and have been reported at the Funded Amount. The current value of the
       tokens receivable are undetermined and could vary significantly from any valuation
       as of the Petition Date or the funded amounts for such assets. The Debtors reserve
       all rights to revise, amend, supplement and/or adjust Token Receivables in the
       Schedules and Statements.

41.    Schedule A/B, Part 11, Question 77 – Fund Investments. Fund investments have
       been reported at the funded amount or recorded cost per books and records, which
       may be materially different from the current fair market value of the investment.

42.    Schedule D. The Debtors have not included parties that may believe their claims
       are secured through setoff rights, inchoate statutory lien rights, or other lien rights
       created by the laws of the various jurisdictions in which the Debtors operate. The
       amounts outstanding under the Debtors’ prepetition secured debt reflect
       approximate amounts as of the Petition Date to the extent known. Descriptions
       provided on Schedule D are intended only to be a summary. Reference to the
       applicable loan agreements and related documents is necessary for a complete
       description of the collateral and the nature, extent, and priority of any liens. The
       Debtors reserve all rights to dispute or otherwise assert offsets, defenses or
       avoidance claims to any claim reflected on the Schedule D as to amount, liability,
       classification, or identity of a Debtor, or to otherwise subsequently designate any
       claim as “disputed,” “contingent,” or “unliquidated.” The Debtors dispute some or
       all of the liens and collateral purportedly supporting any claim reflected on
       Schedule D, and reserve all rights to void or avoid any such liens or collateral, as
       appropriate.

       Except as otherwise agreed pursuant to a stipulation or agreed order or general order
       entered by the Bankruptcy Court, the Debtors reserve the right to dispute or
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       challenge the validity, perfection or immunity from avoidance of any lien purported
       to be granted or perfected in any specific asset to a creditor listed on Schedule D of
       any Debtor. Moreover, although the Debtors may have scheduled claims of various
       creditors as secured claims, the Debtors reserve all rights to dispute or challenge
       the secured nature of any such creditor’s claim or the characterization of the
       structure of any such transaction or any document or instrument (including, without
       limitation, any intercreditor agreement) related to such creditor’s claim. In certain
       instances, a Debtor may be a co-obligor or guarantor with respect to scheduled
       claims of the other Debtors, and no claim set forth on Schedule D of any Debtor is
       intended to acknowledge claims of creditors that are otherwise satisfied or
       discharged by other entities. The descriptions provided in Schedule D are intended
       only to be a summary. Reference to the applicable loan agreements and related
       documents is necessary for a complete description of the collateral and the nature,
       extent and priority of any liens. Nothing in these Notes or the Schedules and
       Statements shall be deemed a modification or interpretation of the terms of such
       agreements.

43.    Schedule E/F.

       a)     The claims of individual creditors for, among other things, goods, products,
              services or taxes are listed as the amounts entered on the Debtors’ books
              and records and may not reflect credits, allowances, or other adjustments
              due from such creditors to the Debtors. The Debtors reserve all of their
              rights with regard to such credits, allowances, and other adjustments,
              including the right to assert claims objections and/or setoffs with respect to
              the same.

       b)     The Debtors’ prepetition tax obligations are more fully described in the
              Motion for Order Authorizing (I) Debtors to Pay Certain Taxes and Fees
              and (II) Financial Institutions to Honor Related Payment Requests [D.I.
              267] (the “Taxes Motion”). Pursuant to the order granting the Taxes
              Motion, the Debtors were authorized to pay various prepetition taxes,
              regulatory fees and assessments, and related obligations that were payable
              to numerous taxing authorities. To the extent such obligations have been
              paid in the postpetition period pursuant to the order, the Debtors have made
              efforts to exclude the related obligations from the Schedules. The Debtors
              reserve all rights to further amend the Schedules or deem claims satisfied
              should it later be determined that any such paid prepetition obligation has
              been inadvertently reported in the Schedules.

       c)     The Debtors have included various governmental agencies on Schedule E/F
              (Part 1) out of an abundance of caution whose obligations may not be
              “taxes” pursuant to the applicable law. The Debtors reserve all rights to
              dispute or challenge that these claims are not taxes and are not subject to
              priority under the Bankruptcy Code.
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 d)    The Debtors’ outstanding prepetition wage obligations are more fully
       described in the Motion for Order (I) Authorizing the Debtors to Pay
       Certain Prepetition Wages and Compensation and Maintain and Continue
       Employee Benefit Programs and (II) Authorizing and Directing Banks to
       Honor and Process Checks and Transfers Related to Such Employee
       Obligations [D.I. 59] (the “Wages Motion”). Pursuant to the orders
       granting the Wages Motion, the Debtors were authorized to pay certain
       prepetition obligations to their employees or other related third-party
       recipients, remit employee 401(k) contributions, and pay or cause to be paid
       all withheld employee taxes and Social Security and Medicare taxes. To
       the extent such obligations have been paid in the postpetition period
       pursuant to these orders, the Debtors have made efforts to exclude the
       related obligations from the Schedules. The Debtors reserve all rights to
       further amend the Schedules or deem claims satisfied should it later be
       determined that any such paid prepetition obligation has been inadvertently
       reported in the Schedules.

 e)    The Debtors’ outstanding prepetition critical vendor, foreign vendor,
       503(b)(9) claims and lien claims are more fully described in the Motion of
       Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors
       to Pay Certain Prepetition Claims of Critical Vendors, Foreign Vendors,
       503(B)(9) Claimants and Lien Claimants, (II) Granting Administrative
       Expense Priority to all Undisputed Obligations on Account of Outstanding
       Orders, (III) Authorizing all Financial Institutions to Honor all Related
       Payment Requests and (IV) Granting Certain Related Relief [D.I. 46] (the
       “Critical Vendors Motion”). Pursuant to the orders granting the Critical
       Vendors Motion, the Debtors were authorized to pay prepetition obligations
       to certain vendors. To the extent such obligations have been paid in the
       postpetition period pursuant to these orders, the Debtors have made
       reasonable efforts to exclude the related obligations from the Schedules.
       The Debtors reserve all rights to further amend the Schedules or deem
       claims satisfied should it later be determined that any such paid prepetition
       obligation has been inadvertently reported in the Schedules.

 f)    The liabilities identified in Schedule E/F (Part 2) are derived from the
       Debtors’ books and records. The Debtors made a reasonable attempt to set
       forth their unsecured obligations, although the amount of claims against the
       Debtors may vary from those liabilities represented on Schedule E/F (Part
       2). The listed liabilities may not reflect the correct amount of any unsecured
       creditor’s allowed claims or the correct amount of all unsecured claims.
       Certain creditors listed on Schedule E/F may owe amounts to the Debtors
       and, as such, the Debtors may have valid setoff or recoupment rights with
       respect to such amounts, including on account of outstanding
       cryptocurrency or other loans. The amounts listed on Schedule E/F do not
       reflect any such right of setoff or recoupment and the Debtors reserve all
       rights to assert any such setoff or recoupment rights.
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       g)     The Debtors have made reasonable attempts to identify legal actions,
              administrative proceedings, court actions, executions, attachments or
              governmental audits including the review of available books and records,
              conducting lien searches, conducting searches of court and judicial records
              in relevant jurisdictions, and otherwise reviewing publicly available
              information. Despite the efforts conducted to identify all such actions, it is
              likely that there are other ending actions not yet identified or reported
              herein. The Debtors reserve all rights to revise, amend, supplement and/or
              adjust Schedule E/F in this regard. Additionally, certain lawsuits alleging
              prepetition conduct have been filed after the Petition Date. Such lawsuits
              are likely in violation of the automatic stay pursuant to section 362 of the
              Bankruptcy and are not included in the Debtor’ responses. Schedule E/F
              does not include threatened litigation involving the Debtors.

44.    Schedule G. Although the Debtors have undertaken significant efforts to identify
       all of the Debtors’ contracts, agreements, and leases, it is possible and even likely
       that there may be unidentified items not reported on Schedule G. Additionally, the
       contracts, agreements, and leases listed on Schedule G may have expired, may have
       been rejected or mutually terminated after the Petition Date, or may have been
       modified, amended, or supplemented from time to time by various amendments,
       restatements, waivers, estoppel certificates, letters, memoranda, and other
       documents, instruments, and agreements that may not be listed therein despite the
       Debtors’ use of reasonable efforts to identify such documents. Further, unless
       otherwise specified on Schedule G, it is the Debtors’ intent that each executory
       contract or unexpired lease listed thereon shall include all exhibits, schedules,
       riders, modifications, declarations, amendments, supplements, attachments,
       restatements or other agreements made directly or indirectly by any agreement,
       instrument, or other document that in any manner affects such executory contract
       or unexpired lease, without respect to whether such agreement, instrument, or other
       document is listed thereon.

       Certain confidentiality, non-disclosure, and non-compete agreements may not be
       listed on Schedule G.

       Certain of the contracts and agreements listed on Schedule G may consist of several
       parts, including purchase orders, amendments, restatements, waivers, letters and
       other documents that may not be listed on Schedule G or that may be listed as a
       single entry. The Debtors expressly reserve their rights to challenge whether such
       related materials constitute an executory contract, a single contract or agreement,
       or multiple, severable or separate contracts.

       Although the Debtors made diligent efforts to attribute an executory contract to its
       rightful Debtor, in certain instances, contracts do not specify a particular Debtor or
       include an incorrect legal entity as to the contractual counterparty and therefore the
       Debtors may have inadvertently failed to do so. Accordingly, the Debtors reserve
       all of their rights with respect to the named parties of any and all executory
       contracts, including the right to amend Schedule G. Additionally, contracts listed
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       in the Schedules and Statements may be umbrella or master agreements that cover
       relationships with some or all of the Debtors. Where relevant, such agreements
       have been listed in Schedule G only of the Debtor that signed the original umbrella
       or master agreement.

       Certain of the leases and contracts listed on Schedule G may contain renewal
       options, guarantees of payment, indemnifications, options to purchase, rights of
       first refusal or other miscellaneous rights. Such rights, powers, duties, and
       obligations are not set forth separately on Schedule G or Schedule F.

       In addition, the Debtors may have entered into various other types of agreements
       in the ordinary course of their business, such as subordination, non-disturbance,
       and attornment agreements, supplemental agreements, settlement agreements,
       amendments/letter agreements, title agreements, and confidentiality agreements.
       Such documents may not be set forth on Schedule G. Certain of the executory
       agreements may not have been memorialized and could be subject to dispute.
       Executory agreements that are oral in nature, if any, have not been included on the
       Schedule G.

       The Debtors reserve all rights to dispute or challenge the characterization of any
       transaction or any document or instrument related to a creditor’s claim. The listing
       of any contract on Schedule G does not constitute an admission by the Debtors as
       to the validity of any such contract. The Debtors reserve the right to dispute the
       effectiveness of any such contract listed on Schedule G or to amend Schedule G at
       any time to remove any contract. Omission of a contract or agreement from
       Schedule G does not constitute an admission that such omitted contract or
       agreement is not an executory contract or unexpired lease. The Debtors’ rights
       under the Bankruptcy Code with respect to any such omitted contracts or
       agreements are not impaired by the omission.

       Schedule G also does not include any agreements or contracts relating to any past
       acquisitions, mergers or transfers of entities by, to or between the Debtors. For the
       avoidance of doubt, the Debtors reserve all rights with respect to the
       characterization of any such agreements or contracts. The Debtors reserve the right
       to revise, amend, supplement and/or adjust Schedule G.

           Specific Notes with Respect to the Debtors’ Statements

45.    Statement 1 and 2 - Income. Revenue reported is based solely upon historical
       income statements prepared by the Debtors’ employees and the Outsourcers. This
       may include intercompany revenue. These historical incomes have not been
       verified by the Debtors or their Advisors. Based on a review of available historical
       records and discussions with available FTX resources, unless otherwise indicated,
       the Debtors have not identified any income responsive to Statement Question 2.
       All identified income is reported in response to Statement Question 1.
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46.    Statement 3 – Certain Payments or Transfers to Creditors within 90 Days
       before Filing this Case. Any payments made to the Debtors’ bankruptcy
       professionals, charitable organizations and/or insiders within the 90 days prior to
       the Petition Date are disclosed in responses to SOFA 11, SOFA 9 and SOFA 4,
       respectively, and therefore are not listed in response to SOFA 3. Additionally, as
       provided for in the SOFA instructions, wage and compensation payments and
       related withholding and employer tax payments made to the Debtors’ non-insider
       employees in the ordinary course of business are not listed herein. SOFA 3 only
       includes transfer made in cash and does not include transfers of cryptocurrency or
       other digital assets.

47.    Statement 4 – Payments or Other Transfers of Property made within 1 Year
       before Filing this Case that Benefited any Insider. The Debtors have disclosed
       all known payments to insiders identified to date and have made reasonable efforts
       to make such identifications, but ongoing efforts to make such identifications
       continue and the Debtors expect that such efforts may identify additional transfers
       not reported at this time. Additionally, the reported payments do not reflect any
       prior or subsequent transfers from such insiders to the Debtors. The Debtors
       reserve all rights to revise, amend, supplement and/or adjust SOFA 4 to reflect
       transfers subsequently identified, and the failure to include any such transfer shall
       not be deemed a waiver of any claims, causes of actions, preference or avoidance
       actions or in any way prejudice or impair the assertion of any claims in this respect.

48.    Statement 6 - Setoffs. See paragraph 20 for Setoffs.

49.    Statement 7 – Legal Actions. The Debtors have made reasonable attempts to
       identify legal actions, administrative proceedings, court actions, executions,
       attachments or governmental audits including the review of available books and
       records, conducting lien searches, conducting searches of court and judicial records
       in relevant jurisdictions, and otherwise reviewing publicly available information.
       Despite the efforts conducted to identify all such actions, it is likely that there are
       other ending actions not yet identified or reported herein. The Debtors reserve all
       rights to revise, amend, supplement and/or adjust SOFA 7 in this regard.
       Additionally, certain lawsuits alleging prepetition conduct have been filed after the
       Petition Date. Such lawsuits are likely in violation of the automatic stay pursuant
       to section 362 of the Bankruptcy Code and, in any event, are not responsive to
       Statement Question 7 and, as such, are not included in the Debtor’ responses.
       SOFA 7 does not include threatened litigation involving the Debtors.

50.    Statement 9 – Gifts and Charitable Contributions. Donations are currently
       reported as indicated and supported in the Debtors’ books and records. Efforts are
       ongoing to review the Debtors’ books and records to (1) confirm that payments and
       transfers denoted as gifts or donations qualify as such and (2) identify additional
       payments or transfers not currently identified as gifts or donations that qualify as
       such. Certain Debtors made donations on behalf of themselves and other Debtors.
       The Debtors’ research regarding donations made by one Debtor on behalf of
       another is not yet complete and as such these donations are not included in the
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       amounts reported in response to Statement Question 9. The Debtors’ investigation
       into cryptocurrency and other non-cash donations is also ongoing.

51.    Statement 11 – Payments related to Bankruptcy. The Debtors have listed
       payments to professionals retained pursuant to section 327(a) of the Bankruptcy
       Code and related to these Chapter 11 Cases. Additional information regarding the
       Debtors’ retention of professional services firms is more fully described in the
       individual retention applications, declarations, and/or related orders. Although the
       Debtors have made reasonable efforts to distinguish between payments made for
       professional services related and unrelated to their restructuring efforts, some
       amounts listed in response to Statement 11 may include amounts for professional
       services unrelated to bankruptcy.

52.    Statement 14 – Previous Locations. The Debtors have made extensive attempts
       to review available documentation and to query available Debtor resources in an
       effort to identify all previous addresses and locations utilized by the Debtors
       (including registered addresses where identified). However, through these efforts,
       it has been determined that the Debtors operated out of many decentralized office
       locations and there is no known database tracking such information on a global
       basis. Therefore, it is likely that there may be other addresses and locations
       previously utilized by the Debtors that may not be listed herein.

53.    Statement 16 – Personally Identifiable Information of Customers. See
       paragraph 26 for Confidential, Sensitive or Personally Identifiable Information.

54.    Statement 17 – Employee Pension or Profit-Sharing Plans. The Debtors and
       their Advisors have researched and reviewed payroll and plan contribution
       activities across all known Debtor entities, but due to the decentralized nature of
       the Debtors books and records, it is possible that this information is incomplete.

55.    Statement 18 – Closed Financial Accounts. The Debtors have listed all known
       closed financial accounts that they have been identified through the course of their
       efforts to identify and secure the Debtors’ assets to date. However, due to the large
       number of accounts, the lack of a centralized prepetition cash management system
       and the large number of business acquisitions by the Debtors in recent years, it is
       possible that the list provided herein may be incomplete.

56.    Statement 20 – Off-Premises Storage. The Debtors have listed all known off-
       premises storage locations that it has identified through the course of its efforts to
       identify and secure the Debtors’ assets to date. However, due to the lack of a
       centralized property management system and the large number of decentralized
       offices maintained by the Debtors in recent years, it is possible that the list provided
       herein may be incomplete.

57.    Statement 21 – Property Held for Another. The Debtors take the position that,
       consistent with the applicable terms of use between the Debtors and their account
       holders, certain cryptocurrency held on the Debtors’ platform is property of the
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       Debtors’ estate pursuant to section 541 of the Bankruptcy Code. Conversely, the
       Debtors take the position that, consistent with the applicable terms of use, certain
       other cryptocurrency held on the Debtors’ platform is not property of the Debtors’
       estate pursuant to section 541 of the Bankruptcy Code.

58.    Statement 25 – Other Businesses in which the Debtor has or has had an
       Interest. In addition to business interests listed in Statement 25, the Debtors also
       have or had interests in various token investments for publicly traded tokens and
       pre-ICO (Initial Coin Offering) tokens. These have been excluded from Statement
       25.

59.    Statement 26 – Books, Records and Financial Statements. The Debtors relied
       heavily on contractors and Outsourcers to maintain their books and records. There
       was no centralized financial accounting system or document repository for the
       books and records. Many records were found to be stored in numerous individual
       e-mail accounts and related cloud-based storage drives. The Debtors and their
       Advisors have undertaken significant efforts after the Petition Dates to locate all
       available books and records and to identify centrally located copies of all of the
       historical books and records. The Debtors have disclosed all known responsive
       information in the Statement, but it is likely that this information may be
       incomplete.

60.    Statements 28 and 29 – Officers, Directors, Managing Members, General
       Partners, Members in Control, Controlling Shareholders/ Prior Officers,
       Directors, Managing Members, General Partners, Members in Control,
       Controlling Shareholders. The Debtors and their Advisors relied on available
       corporate documents and books and records to determine officer, director,
       managing member, general partner, member and controlling shareholder statuses.
       While reasonable efforts have been made to provide accurate and complete
       information, inadvertent errors and omissions may exist and the Debtors reserve all
       rights to revise, amend, supplement and/or adjust the Schedules and Statements.

       Officer and Directors reported in response to Statement 28 are as of the Petition
       Date and do not reflect any changes made postpetition.

61.    Statement 30 – Payments, Distributions, or Withdrawals Credited or Given to
       Insiders. See paragraph 47 – Statement 4 – Payments or Other Transfers of
       Property made within 1 Year before Filing this Case that Benefited any Insider.

62.    Statement 31 – Consolidated Groups for Tax Purposes. The Debtors have
       disclosed the consolidated group for U.S. Federal, state and local income tax
       purposes only, and are not currently aware of any consolidated filings outside of
       the U.S. These Schedules and Statements were compiled based on information
       made available to the Debtors and their Advisors at the time of this filing. The
       Debtors and their advisors continue to review the underlying filing positions to
       confirm accuracy, and reserve the right to revise, amend, supplement and/or
       adjust the Schedules and Statements.
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63.    Statement 32 – Contributions to a Pension Fund. The Debtors and their
       Advisors have researched and reviewed payroll and plan contribution activities
       across all known Debtor entities, but due to the decentralized nature of the Debtors’
       books and records it is possible that this information is incomplete. The Debtors
       contributions to pension plans is also addressed on Statement Question 17.
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    Fill in this information to identify the case:

    Debtor name FTX Trading Ltd.


    United States Bankruptcy Court for the:   District of Delaware

    Case number (If known) 22-11068 (JTD)


                                                                                                                                    ¨ Check if this is an
                                                                                                                                        amended filing


 Official Form 207
 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                             04/22
 The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
 name and case number (if known).

 Part 1:    Income

 1. Gross revenue from business

    ¨ None
                                                                                                                             Gross revenue
           Identify the beginning and ending dates of the debtor’s fiscal                Sources of revenue
                                                                                                                             (before deductions and
           year, which may be a calendar year                                            Check all that apply
                                                                                                                             exclusions)

           From the beginning of                                                         þ Operating a business
           the fiscal year to                   From 01/01/2022      to   11/11/2022                                           $       846,724,802.72
                                                                                         ¨ Other
           filing date:                                 MM/DD/YYYY

           For prior year:                      From 01/01/2021      to   12/31/2021     þ Operating a business
                                                        MM/DD/YYYY        MM/DD/YYYY     ¨ Other                               $     1,015,812,187.46

           For the year before that:            From 01/01/2020      to   12/31/2020     þ Operating a business
                                                        MM/DD/YYYY        MM/DD/YYYY     ¨ Other                               $         89,891,909.20




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    ¨ None

                                                                                                                             Gross revenue from
                                                                                         Description of sources of           each source
                                                                                         revenue                             (before deductions and
                                                                                                                             exclusions)

           From the beginning of
           the fiscal year to                   From 01/01/2022      to   11/11/2022     Other Income                          $          1,000,000.00
           filing date:                                 MM/DD/YYYY

           For prior year:                      From 01/01/2021      to   12/31/2021     Other Income                          $        111,743,115.24
                                                        MM/DD/YYYY        MM/DD/YYYY

           For the year before that:            From 01/01/2020      to   12/31/2020     Other Income                          $          2,287,012.06
                                                        MM/DD/YYYY        MM/DD/YYYY




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Debtor      FTX Trading Ltd.                                                                                         Case number (If known)     22-11068 (JTD)
            Name



 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers including expense reimbursements to any creditor, other than regular employee compensation, within 90
     days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7, 575. (This amount may be adjusted
     on 4/01/2025 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     ¨ None            See Attached Rider

             Creditor’s name and address                                    Dates            Total amount or value         Reasons for payment or transfer
                                                                                                                           Check all that apply

     3.1
           ____________________________________________________________
                                                                                              $                             ¨ Secured debt
           ____________________________________________________________                                                     ¨ Unsecured loan repayments
           Street
           ____________________________________________________________
                                                                                                                            ¨ Suppliers or vendors
           ____________________________________________________________
           City                      State               Zip Code                                                           ¨ Services
                                                                                                                            ¨ Other

     3.2
           ____________________________________________________________
                                                                                              $                             ¨ Secured debt
           ____________________________________________________________                                                     ¨ Unsecured loan repayments
           Street
           ____________________________________________________________
                                                                                                                            ¨ Suppliers or vendors
           ____________________________________________________________
           City                      State               Zip Code                                                           ¨ Services
                                                                                                                            ¨ Other

  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7, 575. (This amount may be adjusted on 4/01/2025 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
     Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
     general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
     the debtor. 11 U.S.C. § 101(31).

     ¨ None See Attached Rider
             Insider’s name and address                                   Dates         Total amount or value           Reasons for payment or transfer


     4.1                                                                                 $                             _______________________________________________________
           _______________________________________________________

           _______________________________________________________                                                     _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code




             Relationship to debtor




     4.2                                                                                 $
           _______________________________________________________                                                     _______________________________________________________

           _______________________________________________________                                                     _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code




             Relationship to debtor




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Debtor      FTX Trading Ltd.                                                                                                            Case number (If known)       22-11068 (JTD)
            Name




  5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

     þ None
             Creditor’s name and address                                  Description of the property                                           Date                       Value of property
     5.1   ____________________________________________________________   _______________________________________________________                                          $
           ____________________________________________________________   _______________________________________________________
           Street
           ____________________________________________________________

           ____________________________________________________________
           City                      State               Zip Code




     5.2   ____________________________________________________________   _______________________________________________________                                          $
           ____________________________________________________________   _______________________________________________________
           Street
           ____________________________________________________________

           ____________________________________________________________
           City                      State               Zip Code




  6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.

     þ None
             Creditor’s name and address                                  Description of the action creditor took                               Date action was            Amount
                                                                                                                                                taken

         ____________________________________________________________     _______________________________________________________
                                                                                                                                                                           $
         ____________________________________________________________     _______________________________________________________
         Street
         ____________________________________________________________

         ____________________________________________________________
         City                      State               Zip Code


                                                                          Last 4 digits of account number: XXXX -


 Part 3:              Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity-within 1 year before filing this case.
     ¨ None            See Attached Rider

             Case title                                    Nature of case                                  Court or agency’s name and address                                  Status of case
     7.1 ____________________________ ____________________________                                       _______________________________________________________________   ¨ Pending
                                                                                                         _______________________________________________________________
                                                                                                         Street
                                                                                                                                                                           ¨ On appeal
             Case number
                                                                                                         _______________________________________________________________
                                                                                                         City                      State               Zip Code            ¨ Concluded




             Case title                                    Nature of case                                  Court or agency’s name and address                                  Status of case
     7.2 ____________________________ ____________________________                                                                                                         ¨ Pending
                                                                                                         _______________________________________________________________

                                                                                                         _______________________________________________________________
                                                                                                         Street
                                                                                                                                                                           ¨ On appeal
                                                                                                         _______________________________________________________________
             Case number                                                                                 City                      State               Zip Code            ¨ Concluded




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Debtor    FTX Trading Ltd.                                                                                                            Case number (If known)     22-11068 (JTD)
          Name



  8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

    þ None
            Custodian’s name and address                                     Description of the property                                     Value

          _______________________________________________________________                                                                     $
          _______________________________________________________________
          Street                                                             Case title                                                      Court name and address
          _______________________________________________________________

          _______________________________________________________________
          City                      State               Zip Code

                                                                             Case number



                                                                             Date of order or assignment



 Part 4: Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
     value of the gifts to that recipient is less than $1,000

    ¨ None See Attached Rider
            Recipient’s name and address                                     Description of the gifts or contributions                            Dates given            Value

    9.1
          _______________________________________________________________   _______________________________________________________
                                                                                                                                                                        $
          _______________________________________________________________   _______________________________________________________
          Street
          _______________________________________________________________

          _______________________________________________________________
          City                      State               Zip Code




            Recipient’s relationship to debtor



   9.2    _______________________________________________________________   _______________________________________________________                                     $
          _______________________________________________________________   _______________________________________________________
          Street
          _______________________________________________________________

          _______________________________________________________________
          City                      State               Zip Code




            Recipient’s relationship to debtor




 Part 5:         Certain Losses

  10. All losses from fire, theft, or other casualty within 1 year before filing this case.
    þ None
           Description of the property lost and                              Amount of payments received for the loss                             Date of loss           Value of property
           how the loss occurred                                            If you have received payments to cover the loss, for                                         lost
                                                                            example, from insurance, government compensation,
                                                                            or tort liability, list the total received.
                                                                            List unpaid claims on Official Form 106A/B
                                                                            (Schedule A/B: Assets - Real and Personal Property).


          _______________________________________________________           _______________________________________________________                                     $
          _______________________________________________________




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Debtor     FTX Trading Ltd.                                                                                               Case number (If known)   22-11068 (JTD)
           Name



 Part 6:             Certain Payments or Transfers

  11. Payments related to bankruptcy
      List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
      the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
      seeking bankruptcy relief, or filing a bankruptcy case.
    ¨ None Disbursements were made by and reported in response to SOFA Q#11 for West Realm Shires, Inc. and FTX Trading Ltd.
            Who was paid or who received the                    If not money, describe any property                                 Dates                  Total amount or
            transfer?                                           transferred                                                                                value
    11.1 SULLIVAN & CROMWELL LLP                               N/A                                                                 11/9/2022              $ $4,000,000

            Address

           125 BROAD STREET
           NEW YORK, NY 10004-2498




            Email or website address
           www.sullcrom.com

            Who made the payment, if not debtor?
           N/A

            Who was paid or who received the                    If not money, describe any property                                 Dates                  Total amount or
            transfer?                                           transferred                                                                                value
    11.2                                                                                                                                                  $

            Address




             Email or website address



            Who made the payment, if not debtor?



  12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of
         this case to a self-settled trust or similar device.
         Do not include transfers already listed on this statement.
   þ None
            Name of trust or device                             Describe any property transferred                                   Dates transfers        Total amount or
                                                                                                                                    were made              value


                                                                _______________________________________________________
                                                                                                                                                          $
                                                                _______________________________________________________


             Trustee




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Debtor     FTX Trading Ltd.                                                                                                              Case number (If known)   22-11068 (JTD)
           Name



  13. Transfers not already listed on this statement
      List any transfers of money or other property-by sale, trade, or any other means-made by the debtor or a person acting on behalf of the debtor within 2
      years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
      outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


    ¨ None See Attached Rider
            Who received transfer?                                            Description of property transferred or                                Date transfer         Total amount or
                                                                              payments received or debts paid in exchange                           was made              value
    13.1
                                                                             _______________________________________________________
                                                                                                                                                                          $
                                                                             _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




            Relationship to debtor




            Who received transfer?                                            Description of property transferred or                                Date transfer         Total amount or
                                                                              payments received or debts paid in exchange                           was made              value
    13.2                                                                     _______________________________________________________
                                                                                                                                                                          $
                                                                             _______________________________________________________
            Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                      State               Zip Code




            Relationship to debtor



 Part 7:        Previous Locations

  14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

    ¨ Does not apply              See Attached Rider
            Address                                                                                                                           Dates of Occupancy

    14.1 _______________________________________________________________________________________________________________________________ From                             To
           Street
           _______________________________________________________________________________________________________________________________

           _______________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code



    14.2 _______________________________________________________________________________________________________________________________ From                             To
           Street
           _______________________________________________________________________________________________________________________________

           _______________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                     Page 6
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Debtor     FTX Trading Ltd.                                                                                                         Case number (If known)     22-11068 (JTD)
           Name



 Part 8:        Health Care Bankruptcies

  15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          - diagnosing or treating injury, deformity, or disease, or
          - providing any surgical, psychiatric, drug treatment, or obstetric care?

    þ No. Go to Part 9.
    ¨ Yes. Fill in the information below.
            Facility name and address                                Nature of the business operation, including type of                                     If debtor provides meals
                                                                     services the debtor provides                                                            and housing, number of
                                                                                                                                                             patients in debtor’s care
    15.1
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code          Location where patient records are maintained                                           How are records kept?
                                                                     (if different from facility address). If electronic, identify any
                                                                     service provider.

                                                                     _______________________________________________________
                                                                                                                                                             Check all that apply:
                                                                     _______________________________________________________                             ¨ Electronically
                                                                                                                                                         ¨ Paper

            Facility name and address                                Nature of the business operation, including type of                                     If debtor provides meals
                                                                     services the debtor provides                                                            and housing, number of
                                                                                                                                                             patients in debtor’s care
    15.2
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code          Location where patient records are maintained                                           How are records kept?
                                                                     (if different from facility address). If electronic, identify any
                                                                     service provider.
                                                                                                                                                             Check all that apply:
                                                                     _______________________________________________________

                                                                     _______________________________________________________                             ¨ Electronically
                                                                                                                                                         ¨ Paper
 Part 9:          Personally Identifiable Information

  16. Does the debtor collect and retain personally identifiable information of customers?

    ¨ No.
    þ Yes. State the nature of the information collected and retained.                            Information related to customer account
                  Does the debtor have a privacy policy about that information?
                  ¨ No
                  þ Yes
  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403( b), or other
      pension or profit-sharing plan made available by the debtor as an employee benefit?

    þ No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                  ¨ No. Go to Part 10.
                  ¨ Yes. Fill in below
                        Name of plan                                                                                           Employer identification number of the plan
                                                                                                                      EIN:

                      Has the plan been terminated?
                      ¨ No
                      ¨ Yes

  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                  Page 7
                                         Case 22-11068-JTD                       Doc 977               Filed 03/15/23                  Page 34 of 64
Debtor     FTX Trading Ltd.                                                                                                           Case number (If known)      22-11068 (JTD)
           Name



 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed,
         old, moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

    þ None
            Financial institution name and address                     Last 4 digits of              Type of account                    Date account was                   Last balance
                                                                       account number                                                   closed, sold, moved,               before closing or
                                                                                                                                        or transferred                     transfer
    18.1                                                             XXXX-                         ¨     Checking                                                         $
           _______________________________________________________
                                                                                                   ¨     Savings
           _______________________________________________________
           Street
           _______________________________________________________                                 ¨     Money Market
           _______________________________________________________                                 ¨     Brokerage
           City                      State         Zip Code
                                                                                                   ¨     Other

    18.2                                                             XXXX-                         ¨     Checking                                                         $
           _______________________________________________________
                                                                                                   ¨     Savings
           _______________________________________________________
           Street
           _______________________________________________________                                 ¨     Money Market
           _______________________________________________________                                 ¨     Brokerage
           City                      State         Zip Code
                                                                                                   ¨     Other


  19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

    þ None
            Depository institution name and                           Names of anyone with access to it                      Description of the contents                           Does debtor
            address                                                                                                                                                                still have it?

           _______________________________________________________   ____________________________________________________   ____________________________________________________
                                                                                                                                                                                   ¨ No
           _______________________________________________________   ____________________________________________________   ____________________________________________________   ¨ Yes
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code

                                                                      Address


                                                                     ____________________________________________________

                                                                     ____________________________________________________



  20. Off-premises storage

         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building
         in which the debtor does business.

    þ None
            Facility name and address                                 Names of anyone with access to it                      Description of the contents                           Does debtor
                                                                                                                                                                                   still have it?

           _______________________________________________________   ____________________________________________________   ____________________________________________________   ¨ No
           _______________________________________________________
           Street
                                                                     ____________________________________________________   ____________________________________________________   ¨ Yes
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code

                                                                      Address

                                                                     ____________________________________________________

                                                                     ____________________________________________________




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Debtor     FTX Trading Ltd.                                                                                                              Case number (If known)       22-11068 (JTD)
           Name



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

  21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

    þ None See Global Notes
            Owner’s name and address                                 Location of the property                                  Description of the property                     Value

                                                                                                                                                                              $
           _______________________________________________________   ____________________________________________________   _______________________________________________

           _______________________________________________________   ____________________________________________________   _______________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code




 Part 12: Details About Environmental Information

  For the purpose of Part 12, the following definitions apply:
         Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).

         Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.

         Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.


  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law ? Include settlements and orders.

    þ No
    ¨ Yes. Provide details below.
            Case title                                                 Court or agency name and address                           Nature of the case                               Status of case

                                                                     _______________________________________________________     _______________________________________________   ¨ Pending
                                                                     _______________________________________________________
                                                                     Street
                                                                                                                                 _______________________________________________   ¨ On appeal
            Case Number                                              _______________________________________________________
                                                                                                                                                                                   ¨ Concluded
                                                                     _______________________________________________________
                                                                     City                      State         Zip Code




  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
      environmental law?

    þ No
    ¨ Yes. Provide details below.
            Site name and address                                      Governmental unit name and address                         Environmental law, if known                      Date of notice

           _______________________________________________________   _______________________________________________________     _______________________________________________

           _______________________________________________________   _______________________________________________________     _______________________________________________
           Street                                                    Street
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           City                      State         Zip Code          City                      State         Zip Code




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                                         Case 22-11068-JTD                        Doc 977              Filed 03/15/23                  Page 36 of 64
Debtor     FTX Trading Ltd.                                                                                                           Case number (If known)      22-11068 (JTD)
           Name




  24. Has the debtor notified any governmental unit of any release of hazardous material?
    þ No
    ¨ Yes. Provide details below.
            Site name and address                                    Governmental unit name and address                        Environmental law, if known                      Date of notice

           _______________________________________________________   _______________________________________________________ ________________________________________________

           _______________________________________________________   _______________________________________________________ ________________________________________________
           Street                                                    Street
           _______________________________________________________   _______________________________________________________

           _______________________________________________________   _______________________________________________________
           City                      State         Zip Code          City                      State         Zip Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

    ¨ None See Attached Rider
            Business name and address                                Describe the nature of the business                               Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.

    25.1 _______________________________________________________     ____________________________________________________              EIN:
           _______________________________________________________   ____________________________________________________
           Street
           _______________________________________________________
                                                                                                                                       Dates business existed
           _______________________________________________________
           City                      State         Zip Code                                                                            From                               To




            Business name and address                                Describe the nature of the business                               Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.

    25.2                                                                                                                               EIN:
           _______________________________________________________   ____________________________________________________

           _______________________________________________________   ____________________________________________________              Dates business existed
           Street
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code
                                                                                                                                       From                               To




            Business name and address                                Describe the nature of the business                               Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.

    25.3                                                                                                                               EIN:
           _______________________________________________________   ____________________________________________________

           _______________________________________________________   ____________________________________________________
           Street                                                                                                                      Dates business existed
           _______________________________________________________

           _______________________________________________________
           City                      State         Zip Code                                                                            From                               To




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                     Page 10
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Debtor     FTX Trading Ltd.                                                                                                            Case number (If known)   22-11068 (JTD)
           Name




  26. Books, records, and financial statements
         26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

           ¨ None          See Attached Rider
            Name and address                                                                                                            Dates of service


  26a.1    _________________________________________________________________________________________________________________________   From                           To
           _________________________________________________________________________________________________________________________
           Street
           _________________________________________________________________________________________________________________________

           _________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code




            Name and address                                                                                                            Dates of service


  26a.2    _________________________________________________________________________________________________________________________   From                           To
           _________________________________________________________________________________________________________________________
           Street
           _________________________________________________________________________________________________________________________

           _________________________________________________________________________________________________________________________
           City                                          State                                                     Zip Code




         26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
              statement within 2 years before filing this case.

           ¨ None
                  Name and address                                                                                                      Dates of service


         26b.1 Prager Metis CPAs, LLC                                                                                                  From February 2021             To November 2022
                401 Hackensack Avenue
                4th Floor
                Hackensack, NJ 07601




                  Name and address                                                                                                      Dates of service


         26b.2 Rivers & Moorehead PLLC                                                                                                 From February 2021             To 11/10/2022
                398 S. MILL AVENUE
                SUITE 307
                TORONTO, AZ 85281-2840




         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           ¨ None
                  Name and address                                                                                                      if any books of account and records are
                                                                                                                                        unavailable, explain why

         26c.1 NAME ON FILE                                                                                                            N/A
                ADDRESS ON FILE




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                   Page 11
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Debtor     FTX Trading Ltd.                                                                                                              Case number (If known)   22-11068 (JTD)
           Name




                  Name and address                                                                                                           if any books of account and records are
                                                                                                                                             unavailable, explain why

         26c.2 Robert Lee & Associates, LLP                                                                                              N/A
                 999 W. Taylor Street
                 Suite A
                 San Jose, CA 95126




         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
              statement within 2 years before filing this case.

           þ None
                  Name and address


         26d.1   _________________________________________________________________________________________________________________________

                 _________________________________________________________________________________________________________________________
                 Street
                 _________________________________________________________________________________________________________________________

                 _________________________________________________________________________________________________________________________
                 City                                          State                                                     Zip Code




                  Name and address


         26d.2   _________________________________________________________________________________________________________________________

                 _________________________________________________________________________________________________________________________
                 Street
                 _________________________________________________________________________________________________________________________

                 _________________________________________________________________________________________________________________________
                 City                                          State                                                     Zip Code




  27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?

         þ No
         ¨ Yes. Give the details about the two most recent inventories.

            Name of the person who supervised the taking of the inventory                                                Date of             The dollar amount and basis (cost,
                                                                                                                         inventory           market, or other basis) of each inventory

                                                                                                                                              $

            Name and address of the person who has possession of
            inventory records

   27.1    ___________________________________________________________________________________________________________

           ___________________________________________________________________________________________________________
           Street
           ___________________________________________________________________________________________________________

           ___________________________________________________________________________________________________________
           City                                          State                                        Zip Code




  Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                     Page 12
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Debtor     FTX Trading Ltd.                                                                                                         Case number (If known)    22-11068 (JTD)
          Name




            Name of the person who supervised the taking of the inventory                                               Date of      The dollar amount and basis (cost,
                                                                                                                        inventory    market, or other basis) of each inventory

                                                                                                                                       $

            Name and address of the person who has possession of
            inventory records

   27.2
          ___________________________________________________________________________________________________________

          ___________________________________________________________________________________________________________
          Street
          ___________________________________________________________________________________________________________

          ___________________________________________________________________________________________________________
          City                                          State                                        Zip Code




  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders,
      or other people in control of the debtor at the time of the filing of this case.

            Name                                             Address                                                        Position and nature of any              % of interest, if any
                                                                                                                            interest

          See Attached Rider




  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
      members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ¨ No
    þ Yes. Identify below.
            Name                                             Address                                                        Position and nature of           Period during which
                                                                                                                            any interest                     position or interest
                                                                                                                                                             was held
          See Attached Rider                                                                                                                                 From                To

                                                                                                                                                             From                To

                                                                                                                                                             From                To

                                                                                                                                                             From                To


  30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?

    ¨ No
    þ Yes. Identify below.
            Name and address of recipient                                                            Amount of money or                    Dates                     Reason for
                                                                                                     description and value of                                        providing the value
                                                                                                     property
   30.1 Refer to Statement of Financial Affairs Q #: 4
        ____________________________________________________________________________________                                                                        ____________________________

          ____________________________________________________________________________________                                                                      ____________________________
          Street
          ____________________________________________________________________________________
          City                             State                           Zip Code




            Relationship to debtor




  Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                    Page 13
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Debtor    FTX Trading Ltd.                                                                                                  Case number (If known)   22-11068 (JTD)
          Name




           Name and address of recipient                                                         Amount of money or              Dates                     Reason for
                                                                                                 description and value of                                  providing the value
                                                                                                 property
   30.2
          ____________________________________________________________________________________                                                           ____________________________

          ____________________________________________________________________________________                                                           ____________________________
          Street
          ____________________________________________________________________________________
          City                             State                           Zip Code




           Relationship to debtor



  31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

    þ No
    ¨ Yes. Identify below.
           Name of the parent corporation                                                                        Employer Identification number of the parent
                                                                                                                 corporation
                                                                                                                 EIN:


  32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund ?

    þ No
    ¨ Yes. Identify below.
           Name of the pension fund                                                                              Employer Identification number of the pension
                                                                                                                 fund
                                                                                                                 EIN:



 Part 14: Signature and Declaration


          WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
          connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
          18 U.S.C. §§ 152, 1341, 1519, and 3571.

          I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
          is true and correct.

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on         03/15/2023
                                MM / DD / YYYY



     X /s/ Mary Cilia                                                                             Printed name Mary Cilia

          Signature of individual signing on behalf of the debtor

          Position or relationship to debtor           Chief Financial Officer




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

    ¨ No
    þ Yes




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Debtor Name: FTX Trading Ltd.                                                                                           Case Number: 22-11068 (JTD)

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                            SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address            Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                   Number
AKIN GUMP STRAUSS HAUER &                                     08/19/2022                Services                                                 $16,237.50
FELD LLP
DEPT. 894516
LOS ANGELES, CA 90189
                                                              09/13/2022                Services                                                 $65,577.50
                                                              10/07/2022                Services                                                 $65,785.50

                                                                                                                  SUBTOTAL                      $147,600.50

ANDERSON MORI &                                               08/30/2022                Services                                                 $74,105.07
TOMOTSUNE
OTEMACHI PARK BUILDING 1-1-1
OTEMACHI, CHIYODA-KU
TOKYO,
JAPAN
                                                              10/03/2022                Services                                                 $14,754.04
                                                              10/28/2022                Services                                                 $25,780.84

                                                                                                                  SUBTOTAL                      $114,639.95

APPFOLLOW                                                     09/06/2022                Services                                                 $10,644.00
MIKONKATU 9
HELSINKI,
FINLAND
                                                                                                                  SUBTOTAL                       $10,644.00

ASHURST LLP                                                   10/14/2022                Services                                                 $67,560.00
LONDON FRUIT & WOOL
EXCHANGE 1 DUVAL SQUARE
LONDON,
UNITED KINGDOM
                                                                                                                  SUBTOTAL                       $67,560.00

BAPTISTA LUZ ADVOGADOS                                        09/22/2022                Services                                                 $24,550.00
RUA RAMOS BATISTA 444 / 2º
ANDAR - VILA OLÍMPIA
SAO PAULO,
BRAZIL
                                                                                                                  SUBTOTAL                       $24,550.00

BLOOMBERG FINANCE L.P.                                        08/26/2022                Services                                                 $15,499.46
731 LEXINGTON AVE
NEW YORK, NY
                                                              10/05/2022                Services                                                 $13,210.80

                                                                                                                  SUBTOTAL                       $28,710.26

BOLEH CAPITAL                                                 09/21/2022                Services                                                 $42,139.53
160 ROBINSON ROAD #14-04,
SBF CENTRE
SINGAPORE,
SINGAPORE
                                                              10/28/2022                Services                                                  $2,440.73

                                                                                                                  SUBTOTAL                       $44,580.26

CLOUDFARE, INC.                                               10/03/2022                Services                                                $506,971.52
101 TOWNSEND STREET
SAN FRANCISCO, CA 94107
                                                              10/28/2022                Services                                                $506,971.52
                                                              11/03/2022                Services                                                 $22,496.76

                                                                                                                  SUBTOTAL                     $1,036,439.80

                                                                       Page 1 of 9
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Debtor Name: FTX Trading Ltd.                                                                                           Case Number: 22-11068 (JTD)

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                            SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address            Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                   Number
NAME ON FILE                                                  10/19/2022                Services                                                $100,000.00
ADDRESS UNKNOWN
                                                                                                                  SUBTOTAL                      $100,000.00

CRYPTO INSIDERS                                               08/15/2022                Services                                                  $2,047.00
EEMNESSERWEG 1-25 1221CS
HILVERSUM,
NETHERLANDS
                                                              09/06/2022                Services                                                  $2,046.00
                                                              10/14/2022                Services                                                  $3,940.00

                                                                                                                  SUBTOTAL                        $8,033.00

DEACONS                                                       10/03/2022                Services                                                 $15,334.43
5TH FLOOR ALEXANDRA HOUSE
18 CHARTER ROAD

HONG KONG
                                                                                                                  SUBTOTAL                       $15,334.43

FAST FORWARD                                                  11/02/2022                Services                                                 $30,766.32
BLAZOENSTRAAT 34A, 9000
GENT
GHENT,
BELGIUM
                                                                                                                  SUBTOTAL                       $30,766.32

NAME ON FILE                                                  08/19/2022                Services                                                    $915.67
ADDRESS ON FILE
                                                              09/06/2022                Services                                                $703,955.77
                                                              10/20/2022                Services                                               $1,268,627.39

                                                                                                                  SUBTOTAL                     $1,973,498.83

FORTRESS REAL PROPERTY                                        08/18/2022                Services                                                 $26,881.66
LTD
2.7 MADISON BUILDING
MIDTOWN
QUEENSWAY, GX11 1AA
GIBRALTAR
                                                                                                                  SUBTOTAL                       $26,881.66

FULLSTORY, INC.                                               09/06/2022                Services                                                 $56,056.20
1745 PEACHTREE STREET NW,
SUITE G
ATLANTA, GA 30309
                                                                                                                  SUBTOTAL                       $56,056.20

NAME ON FILE                                                  10/18/2022                Services                                                 $50,000.00
ADDRESS UNKNOWN
                                                                                                                  SUBTOTAL                       $50,000.00

GIBSON, DUNN & CRUTCHER                                       09/30/2022                Services                                                 $89,178.60
LLP
32/F GLOUCESTER TOWER, THE
LANDMARK 15 QUEEN'S ROAD
CENTRAL

HONG KONG
                                                              10/14/2022                Services                                                 $29,909.00

                                                                                                                  SUBTOTAL                      $119,087.60

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Debtor Name: FTX Trading Ltd.                                                                                           Case Number: 22-11068 (JTD)

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                            SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address            Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                   Number
GRAFTED GROWTH                                                09/13/2022                Services                                                $20,000.00
2009 PASEO LARO
SAN CLEMENTE, CA 92673
                                                              10/14/2022                Services                                                $20,000.00

                                                                                                                  SUBTOTAL                      $40,000.00

GRAND PRIX TICKETS                                            09/29/2022                Services                                                $91,000.00
SONNENRING 1 8724
SPIELBERG
SPIELBERG,
AUSTRIA
                                                              10/05/2022                Services                                                $34,252.00
                                                              10/14/2022                Services                                                 $5,240.20

                                                                                                                  SUBTOTAL                     $130,492.20

GVZH                                                          09/08/2022                Services                                                $10,292.00
192 OLD BAKERY STREET
VALLETTA,
MALTA
                                                                                                                  SUBTOTAL                      $10,292.00

HASSANS INTERNATIONAL LAW                                     08/24/2022                Services                                                 $7,941.78
PO BOX 199 MADISON BUILDING
QUEENSWAY

GIBRALTAR
                                                                                                                  SUBTOTAL                       $7,941.78

HAYNES BOONE                                                  09/13/2022                Services                                                $27,397.50
P.O. BOX 841399
DALLAS, TX 75284
                                                              10/14/2022                Services                                                $15,750.00

                                                                                                                  SUBTOTAL                      $43,147.50

HOGAN LOVELLS                                                 08/19/2022                Services                                                $75,422.49
INTERNATIONAL LLP
ATLANTIC HOUSE HOLBORN
VIADUCT
LONDON,
UNITED KINGDOM
                                                              10/20/2022                Services                                               $217,920.19

                                                                                                                  SUBTOTAL                     $293,342.68

INCA DIGITAL, INC                                             09/15/2022                Services                                               $150,000.00
1100 15 STREET NW FLOOR 4
WASHINGTON, DC, 20005
                                                              10/05/2022                Services                                               $150,000.00

                                                                                                                  SUBTOTAL                     $300,000.00

INDUSTRIA LLC                                                 10/19/2022                Services                                                 $8,552.96
2261 MARKET STREET #4503
SAN FRANCISCO, CA 94114
                                                                                                                  SUBTOTAL                       $8,552.96

INTERPRET, LLC                                                09/22/2022                Services                                                $38,250.00
600 CORPORATE POINTE #1050
CULVER CITY, CA 90230
                                                              09/30/2022                Services                                                $38,250.00


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Debtor Name: FTX Trading Ltd.                                                                                           Case Number: 22-11068 (JTD)

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                            SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address            Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                   Number

                                                                                                                  SUBTOTAL                      $76,500.00

JETSTREAM PARTNERS LIMITED                                    11/04/2022                Services                                               $180,000.00
LEVEL 22, FU FAI COMMERCIAL
CENTRE 27 HILLIER STREET

HONG KONG
                                                                                                                  SUBTOTAL                     $180,000.00

JUMIO CORPORATION                                             09/06/2022                Services                                                $33,175.29
395 PAGE MILL RD., SUITE 150
PALO ALTO, CA 94306
                                                              10/05/2022                Services                                                $13,313.16
                                                              10/14/2022                Services                                                $12,925.34

                                                                                                                  SUBTOTAL                      $59,413.79

KIM & CHANG                                                   08/29/2022                Services                                               $123,959.00
39, SAJIK-RO 8-GIL, JONGNO-GU
SEOUL,
KOREA, REPUBLIC OF
                                                              10/03/2022                Services                                                $61,901.00
                                                              10/20/2022                Services                                                $92,065.00

                                                                                                                  SUBTOTAL                     $277,925.00

KING AND WOOD MALLESONS                                       08/22/2022                Services                                                $25,876.50
(HK)
13/F, GLOUCESTER TOWER, THE
LANDMARK 15 QUEENS ROAD
CENTRAL

HONG KONG
                                                              08/29/2022                Services                                                $92,158.50
                                                              09/30/2022                Services                                                $40,563.00
                                                              10/05/2022                Services                                                $31,310.50
                                                              11/03/2022                Services                                                $54,351.00

                                                                                                                  SUBTOTAL                     $244,259.50

KIRKLAND AND ELLIS LLP                                        10/05/2022                Services                                                $85,257.23
300 NORTH LASALLE
CHICAGO, IL 60654
                                                                                                                  SUBTOTAL                      $85,257.23

LATHAM & WATKINS, LLP                                         09/22/2022                Services                                                $45,000.00
200 CLARENDON STREET
BOSTON, MA 02116
                                                                                                                  SUBTOTAL                      $45,000.00

LEXIS NEXIS                                                   09/06/2022                Services                                                $70,000.00
28330 NETWORK PLACE
CHICAGO, IL 60673
                                                              10/14/2022                Services                                                $35,000.00

                                                                                                                  SUBTOTAL                     $105,000.00

M GROUP                                                       10/05/2022                Services                                               $249,344.99
101 AVENUE OF THE AMERICAS
9TH FLOOR
NEW YORK, NY 10013


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                            Case 22-11068-JTD                 Doc 977         Filed 03/15/23           Page 45 of 64
Debtor Name: FTX Trading Ltd.                                                                                           Case Number: 22-11068 (JTD)

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                            SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address            Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                   Number

                                                                                                                  SUBTOTAL                     $249,344.99

MADISON REAL ESTATE LTD.                                      08/18/2022                Services                                                $26,881.66
2.7 MADISON BUILDING
MIDTOWN
QUEENSWAY, GX11 1AA
GIBRALTAR
                                                                                                                  SUBTOTAL                      $26,881.66

MARKETVECTORS INDEXES                                         09/19/2022                Services                                                 $8,066.08
GMBH
KREUZNACHER STR. 30
FRANKFURT, 60486
GERMANY
                                                                                                                  SUBTOTAL                       $8,066.08

MAXIM COMMERCE                                                09/30/2022                Services                                                $18,000.00

                                                                                                                  SUBTOTAL                      $18,000.00

MCCARTHY TETRAULT                                             09/06/2022                Services                                                $80,948.88
ATTN: LORI STEIN
66 WELLINGTON STREET WEST,
SUITE 5300
TORONTO-DOMINION BANK
TOWER BOX 48
TORONTO, ON M5K 1E6
CANADA
                                                              09/30/2022                Services                                                $35,089.61
                                                              10/03/2022                Services                                               $115,015.10

                                                                                                                  SUBTOTAL                     $231,053.59

MICROLEDGERS                                                  11/03/2022                Services                                                $60,000.00
REDCLIFFE ST
ST JOHN'S,,
ANTIGUA & BARBUDA
                                                                                                                  SUBTOTAL                      $60,000.00

MLL MEYERLUSTENBERGER                                         09/13/2022                Services                                                $29,991.05
ADDRESS ON FILE
                                                              10/05/2022                Services                                                $18,199.62

                                                                                                                  SUBTOTAL                      $48,190.67

MPG LIVE                                                      08/15/2022                Services                                                $92,115.00
NOVA VES 17, CENTAR KAPTOL
(3. KAT)
ZAGREB,
CROATIA
                                                              09/30/2022                Services                                               $264,573.00

                                                                                                                  SUBTOTAL                     $356,688.00

NISHITH DESAI ASSOCIATES                                      08/29/2022                Services                                                $11,405.00
93 B. MITTAL COURT, NARIMAN
POINT
MUMBAI, 400 021
INDIA
                                                              10/28/2022                Services                                                 $2,467.50

                                                                                                                  SUBTOTAL                      $13,872.50




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                            Case 22-11068-JTD                 Doc 977         Filed 03/15/23           Page 46 of 64
Debtor Name: FTX Trading Ltd.                                                                                           Case Number: 22-11068 (JTD)

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                            SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address            Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                   Number
NORTON ROSE FULBRIGHT                                         09/13/2022                Services                                                  $1,768.53
SOUTH AFRICA INC
15 ALICE LAN
SANDTON, 2196
SOUTH AFRICA
                                                              10/05/2022                Services                                                 $18,491.66
                                                              10/28/2022                Services                                                  $6,500.00

                                                                                                                  SUBTOTAL                       $26,760.19

NP DIGITAL                                                    08/26/2022                Services                                                $325,140.96
750 B STREET SUITE 1400
SAN DIEGO, CA 92101
                                                              10/25/2022                Services                                               $6,000,000.00

                                                                                                                  SUBTOTAL                     $6,325,140.96

OLLARI CONSULTING                                             08/22/2022                Services                                                 $21,000.00
24 RUE D’ARMAILLE
PARIS, 75017
FRANCE
                                                                                                                  SUBTOTAL                       $21,000.00

OPUS PARTNERS CO. LTD                                         10/25/2022                Services                                                $500,000.00
3605, 17, HAEUNDAE GU,
BUSAN,,
KOREA, REPUBLIC OF
                                                                                                                  SUBTOTAL                      $500,000.00

ORRICK, HERRINGTON &                                          08/19/2022                Services                                                    $818.10
SUTCLIFFE
ATTN: ANNA SUH
P.O. BOX 848066
LOS ANGELES,, CA 90084-8066
                                                              10/05/2022                Services                                                  $8,730.00
                                                              10/20/2022                Services                                                  $6,668.90

                                                                                                                  SUBTOTAL                       $16,217.00

PEOPLE'S GROUP                                                09/06/2022                Services                                                 $11,760.09
SUITE 1400 - 888 DUNSMUIR
STREET
VANCOUVER, BC V6C 3K4
CANADA
                                                                                                                  SUBTOTAL                       $11,760.09

PLAID FINANCIAL LTD.                                          08/15/2022                Services                                                  $3,646.50
NEW PENDEREL HOUSE 4TH
FLOOR
283-288 HIGH HOLBORN
LONDON,
UNITED KINGDOM
                                                              09/08/2022                Services                                                  $3,561.30
                                                              10/05/2022                Services                                                  $3,533.40
                                                              10/14/2022                Services                                                  $3,378.00

                                                                                                                  SUBTOTAL                       $14,119.20

PLAYUP LIMITED                                                08/23/2022                Services                                               $3,000,000.00
48 EPSOM RD, ZETLAND,
NSW
SYDNEY, 2017
AUSTRALIA

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Debtor Name: FTX Trading Ltd.                                                                                           Case Number: 22-11068 (JTD)

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                            SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address            Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                   Number

                                                                                                                  SUBTOTAL                     $3,000,000.00

QREG ADVISORY LIMITED                                         09/06/2022                Services                                                $144,000.00
UNIT 1503, TOWER 1,
ADMIRALTY CENTER
HONG KONG,
HONG KONG
                                                                                                                  SUBTOTAL                      $144,000.00

QUINN EMANUEL                                                 09/30/2022                Services                                                $107,593.65
865 S. FIGUEROA STREET, 10TH
FLOOR
LOS ANGELES, CA 90017
                                                              10/28/2022                Services                                                $106,329.32

                                                                                                                  SUBTOTAL                      $213,922.97

RED POINTS SOLUTIONS S.L.                                     10/14/2022                Services                                                  $4,550.00
CL BERLIN 38-48, 1PI 6PI
BARCELONA, 8029
SPAIN
                                                              10/28/2022                Services                                                  $9,100.00

                                                                                                                  SUBTOTAL                       $13,650.00

REFINITIV                                                     10/05/2022                Services                                                  $66,111.00
5 CANADA SQUARE
LONDON,
UNITED KINGDOM
                                                                                                                  SUBTOTAL                        $66,111.00

RIVERS AND MOREHEAD                                           09/06/2022                Services                                                  $3,698.75
398 S MILL AVE,
TEMPE, AZ 85281
                                                              09/22/2022                Services                                                  $8,780.00
                                                              10/05/2022                Services                                                  $7,561.25

                                                                                                                  SUBTOTAL                       $20,040.00

ROBERT LEE & ASSOCIATES,                                      10/14/2022                Services                                                $213,811.10
LLP
999 W TAYLOR STREET
SUITE A
MADRID, CA 95126
                                                                                                                  SUBTOTAL                      $213,811.10

SARDINE AI CORP                                               10/05/2022                Services                                                 $65,153.40
382 NE 191ST ST, #58243
MIAMI, FL 33179
                                                              10/20/2022                Services                                                 $44,145.40

                                                                                                                  SUBTOTAL                      $109,298.80

SIDLEY AUSTIN LLP                                             09/06/2022                Services                                                 $32,428.35
1001 PAGE MILL ROAD,
BUILDING 1
PALO ALTO, CA 94304
                                                              10/20/2022                Services                                                $193,720.20

                                                                                                                  SUBTOTAL                      $226,148.55

SPIRALYZE LLC                                                 09/06/2022                Services                                                 $79,998.00
1718 PEACHTREE ST NW #1080
ATLANTA, GA 30309

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                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                            SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address            Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                   Number

                                                                                                                  SUBTOTAL                       $79,998.00

STOUT                                                         08/30/2022                Services                                                  $9,039.22
P.O. BOX 71770 ONE SOUTH
WACKER DRIVE
38TH FLOOR
CHICAGO, IL 60694-1770
                                                                                                                  SUBTOTAL                        $9,039.22

SULLIVAN & CROMWELL LLP                                       09/06/2022                Services                                                 $81,655.00
125 BROAD STREET
NEW YORK, NY 10004-2498
                                                              10/05/2022                Services                                                $142,611.53
                                                              10/20/2022                Services                                                $166,493.75

                                                                                                                  SUBTOTAL                      $390,760.28

NAME ON FILE                                                  10/05/2022                Services                                               $2,544,750.00
ADDRESS ON FILE
                                                                                                                  SUBTOTAL                     $2,544,750.00

TEKNOS ASSOCIATES LLC                                         09/22/2022                Services                                                $355,000.00
44 MONTGOMERY STREET 3RD
FLOOR
SAN FRANSICSCO, CA 94104
                                                                                                                  SUBTOTAL                      $355,000.00

THE EXECUTIVE CENTRE                                          08/19/2022                Services                                                  $3,636.71
35/F, TWO PACIFIC PLACE
ADMIRALTY,
HONG KONG
                                                              09/22/2022                Services                                                  $3,566.08
                                                              10/20/2022                Services                                                  $3,351.13

                                                                                                                  SUBTOTAL                       $10,553.92

TIGERWIT                                                      09/22/2022                Other- Investments                                      $158,832.00
7TH FLOOR, AUGUSTINE HOUSE
6A AUSTIN FRIARS
LONDON, ENGLAND, EC2N 2HA
UNITED KINGDOM
                                                              10/14/2022                Other- Investments                                      $112,317.00
                                                              11/02/2022                Other- Investments                                      $116,050.00

                                                                                                                  SUBTOTAL                      $387,199.00

TL INTERNATIONAL                                              10/03/2022                Services                                               $5,144,475.00
KORTE VLIERSTRAAT 6, BUS 211
2000
ANTWERPEN,
BELGIUM
                                                                                                                  SUBTOTAL                     $5,144,475.00

TL TRAVEL                                                     09/19/2022                Services                                                 $53,155.61

                                                                                                                  SUBTOTAL                       $53,155.61

TRANSPERFECT (CHANCERY                                        09/06/2022                Services                                                 $16,439.75
STAFFING)
1250 BROADWAY, 32ND FLOOR
NEW YORK, NY 10001
                                                              10/05/2022                Services                                                  $2,023.32

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                            SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case

Creditor Name & Address            Check or Wire              Payment Date              Reason For Payment                       Amount Paid
                                   Number
                                                              10/14/2022                Services                                               $32,442.15

                                                                                                                  SUBTOTAL                     $50,905.22

TRIBE PAYMENTS LTD                                            09/08/2022                Services                                                $8,689.57
70 GRACECHURCH STREET
LONDON,
UNITED KINGDOM
                                                                                                                  SUBTOTAL                      $8,689.57

ULTRABEING LTD.                                               09/16/2022                Services                                               $20,694.08
CHINA OVERSEAS BLD. C-E 9F
HENNESSEY ROAD

HONG KONG
                                                                                                                  SUBTOTAL                     $20,694.08

WATERSHED                                                     10/28/2022                Services                                               $90,000.00
360 9TH STREET
SAN FRANCISCO, CA 94103
                                                                                                                  SUBTOTAL                     $90,000.00

WE ARE ONE WORLD                                              09/19/2022                Services                                               $50,075.00
KORTE VLIERSTRAAT 6 2000
ANTWERPEN
ANTWERP,
BELGIUM
                                                              10/05/2022                Services                                                $3,073.80

                                                                                                                  SUBTOTAL                     $53,148.80

WHITE & CASE                                                  10/14/2022                Services                                                $7,984.50
111 S WACKER DR SUITE 5100
CHICAGO, IL 60606
                                                                                                                  SUBTOTAL                      $7,984.50

XREG CONSULTING- GBP                                          10/28/2022                Services                                               $47,184.19
118846 AT MADISON BUILDING,
MIDTOWN
QUENSWAY, GX111AA
GIBRALTAR
                                                                                                                  SUBTOTAL                     $47,184.19

NAME ON FILE                                                  08/23/2022                Services                                               $20,568.30
ADDRESS ON FILE
                                                                                                                  SUBTOTAL                     $20,568.30




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Debtor Name: FTX Trading Ltd.                                                                                           Case Number: 22-11068 (JTD)

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Creditor Name and Address        Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


NAME ON FILE                     Director                                         $772,100.00 01/12/2022              Cash Payment
ADDRESS ON FILE

Corporate & Trust Services       Director                                            $20,833.33 11/03/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $20,833.33 09/30/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $20,833.33 09/06/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $40,000.00 08/03/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                             $2,902.00 08/03/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                             $3,577.00 08/03/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $20,833.33 08/03/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                             $1,052.00 08/03/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $35,500.00 08/03/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $20,833.33 07/01/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA




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Debtor Name: FTX Trading Ltd.                                                                                           Case Number: 22-11068 (JTD)

                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

              SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Creditor Name and Address        Relationship to Debtor           Total Amount or Value         Dates                 Reason for Payment or Transfer


Corporate & Trust Services       Director                                            $20,833.33 06/01/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                         $130,730.00 05/20/2022              Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $20,833.33 05/03/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $20,000.00 04/07/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $20,833.33 04/01/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $20,000.00 03/08/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $20,833.33 03/01/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $20,000.00 02/28/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $57,500.00 02/17/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $20,833.33 02/07/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA
Corporate & Trust Services       Director                                            $20,833.33 01/07/2022            Cash Payment
Limited
LOWER FACTORY ROAD PO
BOX 990
ST JOHNS,
ANTIGUA & BARBUDA



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                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

                 SOFA Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider

 Creditor Name and Address           Relationship to Debtor            Total Amount or Value          Dates                  Reason for Payment or Transfer


 Corporate & Trust Services          Director                                             $20,833.33 12/17/2021              Cash Payment
 Limited
 LOWER FACTORY ROAD PO
 BOX 990
 ST JOHNS,
 ANTIGUA & BARBUDA
 Corporate & Trust Services          Director                                             $20,833.33 11/15/2021              Cash Payment
 Limited
 LOWER FACTORY ROAD PO
 BOX 990
 ST JOHNS,
 ANTIGUA & BARBUDA
 Ellison, Caroline                   Director/Officer                                   $500,000.00 01/20/2022               Cash Payment
 ADDRESS ON FILE

 Ellison, Caroline                   Director/Officer                                 $1,000,000.00 01/12/2022               Cash Payment
 ADDRESS ON FILE

 NAME ON FILE                        Officer                                          $5,000,000.00 09/09/2022               Cash Payment
 ADDRESS ON FILE

 NAME ON FILE                        Officer                                          $3,750,000.00 05/27/2022               Cash Payment
 ADDRESS ON FILE

 NAME ON FILE                        Officer                                         $15,973,337.50 05/05/2022               Cash Payment
 ADDRESS ON FILE

 NAME ON FILE                        Officer                                         $17,360,000.00 04/13/2022               Cash Payment
 ADDRESS ON FILE

 NAME ON FILE                        Officer                                         $41,666,671.88 11/23/2021               Cash Payment
 ADDRESS ON FILE

 NAME ON FILE                        Director                                           $844,662.00 04/13/2022               Cash Payment
 ADDRESS ON FILE

 NAME ON FILE                        Director                                             $49,989.36 07/21/2022              Cash Payment
 ADDRESS ON FILE

 NAME ON FILE                        Director/Officer                                 $6,000,000.00 04/04/2022               Cash Payment
 ADDRESS ON FILE

 Salame, Ryan                        Director/Officer                                 $1,500,000.00 12/27/2021               Cash Payment
 ADDRESS ON FILE

 Singh, Nishad                       Director/Officer                                 $3,000,000.00 12/28/2021               Cash Payment
 ADDRESS ON FILE

 Singh, Nishad                       Director/Officer                              $477,840,000.00 11/15/2021                Issuance of 44,000,000 shares of
 ADDRESS ON FILE                                                                                                             FTX Trading Ltd. pursuant to 2020
                                                                                                                             Equity Incentive Plan (exercise price
                                                                                                                             for shares not paid)

Responses to this question do not currently include all transfers of cryptocurrency, other digital assets or other assets.




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Debtor Name: FTX Trading Ltd.                                                                                          Case Number: 22-11068 (JTD)

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                SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                       Case Number            Nature of Case                           Court Name and Address             Status


Unknown                          HC/OC 320/2022         Intellectual Property Dispute            Bybit Fintech Limited              Pending
                                                                                                 1 SUPREME COURT LN
                                                                                                 178879
                                                                                                 SINGAPORE
FTX (Cl 25) / Fastrax S.A. v.    Unknown                Trademark Dispute                        Undetermined                       Pending
FTX Trading Ltd. - Opposition
by OS - Paraguay Application
#21112510
FTX / The Financial Times        OP000434179            Trademark Dispute                        Undetermined                       Pending
Limited v. FTX Trading Ltd. -
Opposition by OS - United
Kingdom Application
#UK00003729656
FTX (Cl 25) / Kent Uyehara v.    Unknown                Trademark Dispute                        Undetermined                       Pending
FTX Trading Ltd. - Opposition
by OS - Brazil Application
#925242470
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Argentina
Application #4138850
TSM FTX (Cl 35) / Swift          Unknown                Trademark Dispute                        Undetermined                       Pending
Media Entertainment Inc. -
Potential Cancellation -
Taiwan Application
#110063158
FTX (and design) / Harun         Unknown                Trademark Dispute                        Undetermined                       Pending
Ozan - Opposition - Turkey
Application #2022006062
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Potential Opposition - India
Application #5491637
SM TSMFTX (and design) (in       Unknown                Trademark Dispute                        Undetermined                       Pending
color) (Cl 25) / Swift Media
Entertainment Inc. - Potential
Cancellation - Taiwan
Application #110063161
TSM FTX / Swift Media            Unknown                Trademark Dispute                        Undetermined                       Pending
Entertainment Inc. - Potential
Cancellation - EUTM
Application #IR 1641731
FXT / Power Rich                 Unknown                Trademark Dispute                        Undetermined                       Pending
International Development
Limited - Cancellation - China
Application #9517711
TSM FTX / Swift Media            Unknown                Trademark Dispute                        Undetermined                       Pending
Entertainment Inc. - Potential
Cancellation - China
Application #IR 1641731
SM TSMFTX (and design) (in       Unknown                Trademark Dispute                        Undetermined                       Pending
color) / Swift Media
Entertainment Inc. - Potential
Opposition - Australia
Application #IR 1678454 /
2294425
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Indonesia
Application #JID2022042885
F Logo / Ferreyros S.A. v.       Unknown                Trademark Dispute                        Undetermined                       Pending
FTX Trading Ltd. - Opposition
by OS - Peru Application
#933390
FTX / The Financial Times        B003173232             Trademark Dispute                        Undetermined                       Pending
Limited v. FTX Trading Ltd. -
Opposition by OS - EUTM
Application #18616583

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Debtor Name: FTX Trading Ltd.                                                                                          Case Number: 22-11068 (JTD)

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                SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                       Case Number            Nature of Case                           Court Name and Address             Status


TSM FTX (Cl 25) / Swift          Unknown                Trademark Dispute                        Undetermined                       Pending
Media Entertainment Inc. -
Potential Cancellation -
Taiwan Application
#110063156
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Indonesia
Application #JID2022042886
FTX TR (and design) / Harun      Unknown                Trademark Dispute                        Undetermined                       Pending
Ozan - Opposition - Turkey
Application #2022006050
SM TSMFTX (and design) (in       Unknown                Trademark Dispute                        Undetermined                       Pending
color) / Swift Media
Entertainment Inc. - Potential
Opposition - EUTM
Application #IR 1678454
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Potential Opposition -
Kazakhstan Application
#109285
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Potential Opposition - Russia
Application #2022740270
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Potential Cancellation -
Mexico Application #2768220
TSM FTX / Swift Media            Unknown                Trademark Dispute                        Undetermined                       Pending
Entertainment Inc. - Potential
Cancellation - Australia
Application #IR 1641731 /
2246480
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Indonesia
Application #JID2022042879
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Potential Cancellation -
Mexico Application #2768239
TSM FTX / Swift Media            Unknown                Trademark Dispute                        Undetermined                       Pending
Entertainment Inc. - Potential
Cancellation - Brazil
Application #IR 1641731
SM TSMFTX (and design) (in       Unknown                Trademark Dispute                        Undetermined                       Pending
color) / Swift Media
Entertainment Inc. - Potential
Opposition - Brazil
Application #IR 1678454
FTX (and design) / Nguyen        Unknown                Trademark Dispute                        Undetermined                       Pending
Huu Tai - Potential Opposition
- Vietnam Application
#4202208876
F Logo / Shenzhen Galaxy         Unknown                Trademark Dispute                        Undetermined                       Pending
Real Estate Development
Co., Ltd. - Cancellation -
China Application #23043965
FTX (Cl 35) / Fastrax S.A. v.    Unknown                Trademark Dispute                        Undetermined                       Pending
FTX Trading Ltd. - Opposition
by OS - Paraguay Application
#21112513
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Colombia
Application #SD20220060646
FTX FANTEXI (and Chinese         Unknown                Trademark Dispute                        Undetermined                       Pending
characters) / Fengzhen Wang
- Cancellation - China
Application #11839603

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                SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                       Case Number            Nature of Case                           Court Name and Address             Status


SM TSMFTX (and design) (in       Unknown                Trademark Dispute                        Undetermined                       Pending
color) / Swift Media
Entertainment Inc. - Potential
Opposition - Japan
Application #IR 1678454
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Brazil
Application #927023504
FTX (Cl 36) / Fastrax S.A. v.    Unknown                Trademark Dispute                        Undetermined                       Pending
FTX Trading Ltd. - Opposition
by OS - Paraguay Application
#21112519
FTX / Horiba, Ltd. -             Unknown                Trademark Dispute                        Undetermined                       Pending
Cancellation - Japan
Application #2018097787
FTX (Cl 42) / Fastrax S.A. v.    Unknown                Trademark Dispute                        Undetermined                       Pending
FTX Trading Ltd. - Opposition
by OS - Paraguay Application
#21112525
TSM FTX / Swift Media            Unknown                Trademark Dispute                        Undetermined                       Pending
Entertainment Inc. - Potential
Opposition - India Application
#IR 1641731
FTX / Turkiye Finans Katilim     Unknown                Trademark Dispute                        Undetermined                       Pending
Bankasi A.S. v. FTX Trading
Ltd. - Opposition by OS -
Turkey Application
#2021185128
TSM FTX / Swift Media            Unknown                Trademark Dispute                        Undetermined                       Pending
Entertainment Inc. -
Opposition - United Kingdom
Application
#WO0000001641731
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - New Zealand
Application #1212851
SM TSMFTX (and design) (in       Unknown                Trademark Dispute                        Undetermined                       Pending
color) (Cl 35) / Swift Media
Entertainment Inc. - Potential
Cancellation - Taiwan
Application #110063163
FTX (Cl 9) / Fastrax S.A. v.     Unknown                Trademark Dispute                        Undetermined                       Pending
FTX Trading Ltd. - Opposition
by OS - Paraguay Application
#21112507
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Argentina
Application #4138851
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Potential Opposition - India
Application #5491635
TSM FTX / Swift Media            Unknown                Trademark Dispute                        Undetermined                       Pending
Entertainment Inc. - Potential
Opposition - Japan
Application #IR 1641731
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Chile Application
#1507779
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Indonesia
Application #DID2022042878
SM TSMFTX (and design) (in       Unknown                Trademark Dispute                        Undetermined                       Pending
color) / Swift Media
Entertainment Inc. - Potential
Opposition - Vietnam
Application #IR 1678454
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                SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                       Case Number            Nature of Case                           Court Name and Address             Status


F Logo / Dalian Tianfang         Unknown                Trademark Dispute                        Undetermined                       Pending
Enterprise Management Co.,
Ltd. - Cancellation - China
Application #15246787
SM TSMFTX (and design) (in       Unknown                Trademark Dispute                        Undetermined                       Pending
color) / Swift Media
Entertainment Inc. - Potential
Opposition - United Kingdom
Application #IR 1678454
FTX (Cl 35) / Fueltech Ltda v.   Unknown                Trademark Dispute                        Undetermined                       Pending
FTX Trading Ltd. - Opposition
by OS - Brazil Application
#925242519
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Potential Opposition - India
Application #5491636
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Brazil
Application #927023598
SM TSMFTX (and design) (in       Unknown                Trademark Dispute                        Undetermined                       Pending
color) / Swift Media
Entertainment Inc. - Potential
Opposition - South Korea
Application #IR 1678454
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Peru Application
#9582132022
HTX / Coinhub Group Inc. -       B003182698             Trademark Dispute                        Undetermined                       Pending
Opposition - EUTM
Application #18719049
FTX TR (and design) / Harun      Unknown                Trademark Dispute                        Undetermined                       Pending
Ozan - Opposition - Turkey
Application #2022006046
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Peru Application
#9582142022
TSM FTX / Swift Media            Unknown                Trademark Dispute                        Undetermined                       Pending
Entertainment Inc. - Potential
Opposition - South Korea
Application #IR 1641731
FTX (and design) / Harun         Unknown                Trademark Dispute                        Undetermined                       Pending
Ozan - Opposition - Turkey
Application #202107524
SM TSMFTX (and design) (in       Unknown                Trademark Dispute                        Undetermined                       Pending
color) / Swift Media
Entertainment Inc. - Potential
Opposition - Canada
Application #IR 1678454
HTX / Coinhub Group Inc. -       Unknown                Trademark Dispute                        Undetermined                       Pending
Opposition - Turkey
Application #2022089158
TSM FTX / Swift Media            Unknown                Trademark Dispute                        Undetermined                       Pending
Entertainment Inc. - Potential
Opposition - Canada
Application #IR 1641731
SM TSMFTX (and design) (in       Unknown                Trademark Dispute                        Undetermined                       Pending
color) / Swift Media
Entertainment Inc. - Potential
Opposition - India Application
#IR 1678454 / 5583533
FTX (Cl 41) / Fastrax S.A. v.    Unknown                Trademark Dispute                        Undetermined                       Pending
FTX Trading Ltd. - Opposition
by OS - Paraguay Application
#21112516


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SOFA Question 9: List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
                                                             gifts to that recipient is less than $1,000
Recipient Name and Address        Relationship to Debtor                Description                             Date                  Value


COMITE LUZEMBOURGEOIS                                                   Cash                                    12/02/2021                              $60,000.00
POUR L'UNICEF
ADDRESS UNKNOWN
NAME ON FILE                                                            Cash                                    05/13/2021                            $500,000.00
ADDRESS ON FILE

NEW VENTURE FUND                                                        Cash                                    10/08/2021                          $8,000,000.00
ADDRESS UNKNOWN




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                                                SOFA Question 13: Transfers not already listed on this statement



 Creditor Name and Address                   Description of Property              Relationship to Debtor       Date           Amount


 Singh, Nishad                               Intercompany Payable from            Director/Officer             05/03/2021                         $16,500.00
 ADDRESS ON FILE                             Alameda Research to FTX
                                             Trading Ltd. created for the
                                             benefit of Nishad Singh for
                                             exercise of options agreement for
                                             FTX Trading shares

Responses to this question do not currently include all transfers of cryptocurrency, other digital assets or other assets.




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                                                           SOFA Question 14: Previous addresses



Previous Address                                                                     From Date                     To Date


Lower Factory Road                                                                   03/19/2019                    Unknown
St. John's, Antigua and Barbuda
Friar's Hill Road., Unit 3B, Bryson's Commercial Complex                             03/19/2019                    Unknown
St. John's, Antigua
2000 Center Street, Floor 4                                                          08/27/2019                    Unknown
Berkeley, CA 94704 United States
Level 41, Gangnam Finance Center, 152 Teheran-ro, Gangnam-gu                         Unknown                       Unknown
Seoul, South Korea




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                                SOFA Question 25: Other businesses in which the debtor has or has had an interest



Business Name and Address                  Nature of Business Operation               EIN                           Existed From    Existed To


ALLSTON WAY LTD                            Dormant Entity                             Unknown                       05/20/2021      Current
LOWER FACTORY ROAD
ST. JOHN'S, ANTIGUA & BARBUDA
BANCROFT WAY LTD                           Dormant Entity                             Unknown                       06/10/2022      Current
LOWER FACTORY ROAD
ST. JOHN'S, ANTIGUA & BARBUDA
BLOCKFOLIO HOLDINGS, INC.                  Holding Company                            Unknown                       10/21/2020      Current
3500 SOUTH DUPONT HIGHWAY
DOVER, DE 19901
CRYPTO BAHAMAS LLC                         Hosts and organizes conferences and        Unknown                       09/27/2021      Current
3500 SOUTH DUPONT HIGHWAY                  other events in Bahamas
DOVER, DE 19901
DEEP CREEK LTD                             Dormant Entity                             Unknown                       04/22/2022      Current
FRIAR'S HILL ROAD.
UNIT 3B, BRYSON'S COMMERCIAL
COMPLEX
ST. JOHN'S, ANTIGUA & BARBUDA
FTX (GIBRALTAR) LTD                        Dormant Entity                             Unknown                       02/21/2020      Current
MADISON BUILDING
MIDTOWN, QUEENSWAY
GX11 1AA
GIBRALTAR
FTX AUSTRALIA PTY LTD                      ASIC-licensed firm for derivatives         Unknown                       09/29/2022      Current
                                           trading and market making
FTX CANADA INC                             Holding company for Canada                 Unknown                       05/22/2018      Current
421 7 AVE SW
SUITE 4000
CALGARY, AB AB T2P 4
CANADA
FTX DIGITAL HOLDINGS (SINGAPORE) PTE       Digital payment token service provider     Unknown                       12/11/2020      Current
LTD
FTX DIGITAL MARKETS LTD                    Software platform and marketplace          Unknown                       06/03/2021      Current
27 VERIDIAN CORPORATE CENTER
WESTERN ROAD
NEW PROVIDENCE, BAHAMAS
FTX EMEA LTD.                              Intermediate holding                       Unknown                       11/19/2021      Current
FTX EQUITY RECORD HOLDINGS LTD             Investment Holding                         Unknown                       03/25/2021      Current
FTX EUROPE AG                              Financial Instrument Structuring           XX-XXXXXXX                    07/22/2021      Current
FTX HONG KONG LTD                          Dormant Entity                             Unknown                       04/04/2022      Current
FTX JAPAN HOLDINGS K.K.                    Holding company                            Unknown                       03/31/2022      Current
FTX JAPAN SERVICES KK                      Employment entity                          Unknown                       04/04/2022      Current
3 CHOME - 17 NISHIKICHO, KANDA,
CHIYODA CITY
HIROSE BUILDING 4F
TOKYO, 1010054
JAPAN
FTX MALTA HOLDINGS LTD                     Holding Company                            Unknown                       03/16/2022      Current
FTX PRODUCTS (SINGAPORE) PTE LTD           Operator of a digital platform for users   Unknown                       09/07/2020      Current
                                           to trade digital payment tokens
FTX PROPERTY HOLDINGS LTD                  Real Estate                                Unknown                       06/16/2022      Current
FTX SERVICES SOLUTIONS LTD.                Employment entity                          XX-XXXXXXX                    06/06/2022      Current
FISHER'S LANE
ELLEN L. SKELTON BUILDING, 2ND FLOOR
TORTOLA
ROAD TOWN, VG1110
BRITISH VIRGIN ISLANDS
FTX TURKEY TEKNOLOJİ VE TİCARET            Trading Vehicle                            Unknown                       06/25/2020      Current
ANONİM ŞİRKET


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                                SOFA Question 25: Other businesses in which the debtor has or has had an interest



Business Name and Address                  Nature of Business Operation             EIN                             Existed From    Existed To


FTX ZUMA LTD                               Company for local marketing activities   Unknown                         10/30/2020      Current
35 MOLONEY STREET
OBALENDE
LAGOS ISLAND, LAGOS, 102273
NIGERIA
GG TRADING TERMINAL LTD                    New market development vehicle           Unknown                         11/14/2021      Current
GLOBAL COMPASS DYNAMICS LTD.               Dormant Entity                           Unknown                         11/24/2020      Current
INNOVATIA LTD                              Firm specializing in Systems design;     Unknown                         09/15/2021      Current
                                           system implementation and integration,
                                           project management services and
                                           consulting services
LT BASKETS LTD.                            Dormant Entity                           Unknown                         11/19/2021      Current
MANGROVE CAY LTD                           Dormant Entity                           Unknown                         05/09/2022      Current
PT TRINITI INVESTAMA BERKAT                Trading Vehicle                          Unknown                         05/20/2021      Current
TECHNOLOGY SERVICES BAHAMAS                Dormant Entity                           Unknown                         08/24/2021      Current
LIMITED
WEST INNOVATIVE BARISTA LTD.               Dormant Entity                           Unknown                         06/21/2022      Current
WESTERN CONCORD ENTERPRISES LTD.           Dormant Entity                           Unknown                         04/22/2022      Current
FRIAR'S HILL ROAD
UNIT 3B, BRYSON'S COMMERCIAL
COMPLEX
ST. JOHN'S, ANTIGUA & BARBUDA




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      SOFA Question 26a: List all accountants and bookkeepers who maintained the debtor 's books and records within 2 years before filing this case.



Name and Address                                                                                        From                      To


NAME ON FILE                                                                                            February 2021             11/10/2022
ADDRESS ON FILE
NAME ON FILE                                                                                            December 2021             11/10/2022
ADDRESS ON FILE
NAME ON FILE                                                                                            11/11/2020                Current
ADDRESS ON FILE
Robert Lee & Associates, LLP                                                                            11/11/2020                Transitioning
999 W. Taylor Street
Suite A
San Jose, CA 95126




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SOFA Question 28: List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
                                                    control of the debtor at the time of the filing of this case.


Name                                       Address                                                     Position                              % Interest


Arthur Thomas                              ADDRESS ON FILE                                             Director                                           N/A
Can Sun                                    ADDRESS ON FILE                                             General Counsel                                    N/A
NAME ON FILE                               ADDRESS ON FILE                                             Director                                           N/A
Nishad Singh                               ADDRESS ON FILE                                             Director                                           N/A
PAPER BIRD INC                             3500 SOUTH DUPONT HIGHWAY                                   Controlling Shareholder                       75.00%
                                           DOVER, DE 19901
Samuel Bankman-Fried                       ADDRESS ON FILE                                             Director                                           N/A




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  SOFA Question 29: Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
                           control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

Name                              Address                                              Position                             Start            End


Daniel Friedberg                  ADDRESS UNKNOWN                                      Chief Regulatory Officer             Unknown          11/09/2022
NAME ON FILE                      ADDRESS ON FILE                                      Director                             Unknown          06/02/2022




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